   Case 1:20-cv-03590-JEB    Document 624     Filed 07/03/25    Page 1 of 56




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


FEDERAL TRADE COMMISSION,

                      Plaintiff,

            v.                              Civil Action No. 1:20-cv-03590 (JEB)

                                                   PUBLIC VERSION
META PLATFORMS, INC.

                      Defendant.



         Plaintiff Federal Trade Commission’s Post-Trial Memorandum
         Case 1:20-cv-03590-JEB                        Document 624                  Filed 07/03/25                Page 2 of 56




                                                   TABLE OF CONTENTS

INTRODUCTION ......................................................................................................................... 1
LEGAL STANDARD .................................................................................................................... 4
ARGUMENT ................................................................................................................................. 6
   I. Meta Has Monopoly Power Over PSN Services in the United States ............................... 6
          A. PSN Services Are a Distinct Product Offering Serving a Distinct Consumer
             Purpose ........................................................................................................................ 6
          B. Direct Evidence Demonstrates Meta’s Monopoly Power ............................................ 8
          C. Meta’s Dominance of the PSN Services Market Demonstrates Monopoly Power ... 12
                    1.    The Brown Shoe factors demonstrate that PSN services are a relevant
                          market ............................................................................................................ 13
                                  (a) PSN apps have “peculiar characteristics and use” for friends and
                                      family sharing ................................................................................ 13
                                         (i) PSN apps exhibit a “peculiar use” of friends and family
                                             sharing .................................................................................... 14
                                         (ii) PSN apps have “peculiar characteristics” that allow them to
                                              serve the purpose of friends and family sharing .................... 16
                                         (iii) A lack of “core use and functionality” for friends and family
                                               sharing means non-PSN apps are not reasonable substitutes...17
                                  (b) Industry participants and consumers recognize that PSN services
                                      differ from other online services ................................................... 20
                                  (c) Consumers of PSN services are insensitive to quality-adjusted price
                                      increases and vulnerable to price discrimination .......................... 21
                                  (d) PSN apps have unique production facilities .................................. 23
                    2.    A hypothetical monopolist of personal social networking services in the United
                          States would profitably raise quality-adjusted price above a competitive
                          level ................................................................................................................ 23
                    3.    Prominent non-PSN apps are not reasonable substitutes ............................... 24
                                  (a) TikTok ........................................................................................... 24
                                  (b) YouTube ........................................................................................ 26
                                  (c) iMessage and mobile messaging apps ........................................... 27
          D. Meta’s Arguments Do Not Undermine the Market for PSN Services ....................... 29
                    1.    A market for time and attention is baseless ................................................... 29
                    2.    Unconnected content in Facebook and Instagram does not undermine the
                          relevant market for PSN services or Meta’s monopoly power ...................... 30
                    3.    Meta’s “shrinking monopoly” defense fails .................................................. 35
                    4.    Meta’s experts failed to undermine the relevant market for PSN services .... 36
          E. Meta Has a Sustained Dominant Share of the Relevant Market ................................ 37
                                                                       i
         Case 1:20-cv-03590-JEB                      Document 624                Filed 07/03/25             Page 3 of 56




          F. Meta’s Dominant Position is Protected by Entry Barriers ......................................... 40
     II. Meta’s Acquisitions of Instagram and WhatsApp Constitute Anticompetitive Conduct that
         Harmed Competition and Consumers .............................................................................. 41
          A. Instagram Was a Rapidly Growing and Dangerous Competitor in PSN Services .... 41
          B. WhatsApp Was a Nascent Threat to Offer PSN Services .......................................... 44
          C. Meta’s Acquisitions of Instagram and WhatsApp Helped Meta Maintain Its PSN
             Monopoly and Harmed the Competitive Process ...................................................... 48
          D. Meta’s Anticompetitive Conduct Has Caused Ongoing Harm to Consumers ........... 49
     III. Meta Has No Legally Cognizable Procompetitive Justifications .................................... 50
CONCLUSION ............................................................................................................................ 50




                                                                    ii
        Case 1:20-cv-03590-JEB                    Document 624              Filed 07/03/25            Page 4 of 56




                                            TABLE OF AUTHORITIES
Cases

Broadcom Corp. v. Qualcomm Inc., 501 F.3d 297 (3d Cir. 2007) ................................................. 8

C.R. Bard, Inc. v. M3 Inc., 157 F.3d 1340 (Fed. Cir. 1998) ........................................................ 35

Conwood Co., L.P. v. U.S. Tobacco Co., 290 F.3d 768 (6th Cir. 2002)......................................... 9

Epic Games, Inc. v. Apple, Inc., 67 F.4th 946 (9th Cir. 2023)...................................................... 39

FTC v. Swedish Match, 131 F. Supp. 2d 151 (D.D.C. 2000)........................................................ 36

FTC v. Accusearch Inc., 570 F.3d 1187 (10th Cir. 2009)............................................................... 5

FTC v. Facebook, 581 F. Supp. 3d 34 (D.D.C. 2022) ............................................................ 38, 40

FTC v. Ind. Fed'n of Dentists, 476 U.S. 447 (1986) ..................................................................... 30

FTC v. Kroger Co., 2024 WL 5053016 (D. Or. Dec. 10, 2024) ................................................... 34

FTC v. Peabody Energy Corp., 492 F. Supp. 3d 865 (E.D. Mo. 2020) ........................................ 35

FTC v. Shire ViroPharma, Inc., 917 F.3d 147 (3d Cir. 2019) ........................................................ 5

FTC v. Staples, 970 F. Supp. 1066 (D.D.C. 1997) ....................................................................... 21

FTC v. Sysco Corp., 113 F. Supp. 3d 1 (D.D.C. 2015)........................................................... 36, 38

*FTC v. Whole Foods Mkt., Inc., 548 F.3d 1028 (D.C. Cir. 2008) ....................................... passim

In re Flint Water Cases, 960 F.3d 303 (6th Cir. 2020)................................................................... 5

LePage’s Inc. v. 3M, 324 F.3d 141 (3d Cir. 2003) ......................................................................... 4

McWane, Inc. v. FTC, 783 F.3d 814 (11th Cir. 2015) ............................................................ 11, 23

NW Environ. Def. Ctr. v. Gordon, 849 F.2d 1241 (9th Cir. 1988) ................................................. 5

O’Shea v. Littleton, 414 U.S. 488 (1974) ....................................................................................... 5

PepsiCo, Inc. v. Coca-Cola Co., 315 F.3d 101 (2d Cir. 2002) ....................................................... 8

Rothery Storage & Van Co. v. Atlas Van Lines, Inc., 792 F.2d 210 (D.C. Cir. 1986) ................. 23

Swann v. Charlotte-Mecklenburg Bd. of Ed., 402 U.S. 1 (1971).................................................... 5

                                                               iii
         Case 1:20-cv-03590-JEB                        Document 624                Filed 07/03/25               Page 5 of 56




Town Sound and Custom Tops, Inc. v. Chrysler Motors Corp.,
  959 F.2d 468 (3d Cir. 1992) ....................................................................................................... 9

U.S. Pub. Int. Rsch. Grp. v. Atl. Salmon of Me., LLC, 339 F.3d 23 (1st Cir. 2003) ....................... 5

United States v. Aetna, 240 F. Supp. 3d 1 (D.D.C. 2017) ............................................................ 37

United States v. Brown Shoe, 370 U.S. 294 (1962) .......................................................... 12, 13, 21

United States v. Conn. Nat’l Bank, 418 U.S. 656 (1974) ............................................................. 33

United States v. Can Co., 378 U.S. 441 (1964) ........................................................................... 40

United States v. Dentsply, 399 F.3d 181 (3d Cir. 2005) ......................................................... 11, 12

*United States v. Google, 747 F. Supp. 3d 1 (D.D.C. 2024) ................................................. passim

United States v. Grinnell, 384 U.S. 563 (1966) .................................................................. 8, 12, 34

United States v. H&R Block, 833 F. Supp. 2d 36 (D.D.C. 2011) ........................................... 13, 30

*United States v. Microsoft, 253 F.3d 34 (D.C. Cir. 2001) ................................................... passim

United States v. W.T. Grant Co., 345 U.S. 629 (1953) ................................................................... 5

US Airways, Inc. v. Sabre Holdings Corp., 2022 WL 874945 (S.D.N.Y. Mar. 24, 2022) ........... 39

Wilk v. Am. Med. Ass'n, 895 F.2d 352 (7th Cir. 1990) ............................................................... 5, 6

Statutes

15 U.S.C. § 53(b)(1) ....................................................................................................................... 5

Section 13(b) of the FTC Act.......................................................................................................... 5

Section 5 of the FTC Act ................................................................................................................ 4

Section 2 of the Sherman Act ........................................................................................... 2, 4, 5, 49

Other Authorities

U.S. Dep't of Justice & FTC, Merger Guidelines § 4.3 (2023) ....................................... 23, 36, 37

Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law:
  An Analysis of Antitrust Principles and Their Application ¶ 801 (2022) ................................. 39


                                                                     iv
      Case 1:20-cv-03590-JEB          Document 624         Filed 07/03/25     Page 6 of 56




                                       INTRODUCTION

       In 2004, a college student named Mark Zuckerberg recognized that the internet offered a

fundamentally new way to satisfy the timeless human desire to connect with friends and family.

He created a web application called Facebook, which “beat” the incumbent MySpace and won the

“social networking use case” by offering a personal social network that connected users with “the

people they care about.” PX0292-008 & 4/14 (Zuckerberg (“MZ”)) 158:21-159:17; id. 151:17-20

(agreeing Meta built “a better product and beat MySpace”); PX11079-001 (recognizing distinct

use cases). Facebook’s popularity grew because this new product offered something valuable and

distinct both from other ways of communicating with friends and family (like sending an email or

text message) and from passively consuming online entertainment (like watching a concert video).

       Over the two decades that followed, much changed. Smartphones transformed how and

when users access the internet. The number and variety of apps has skyrocketed. And Americans

spend more and more time online. What has not changed? Hundreds of millions of Americans still

desire to use apps to share their lives with friends and family. Meta, then and now, capitalizes on

that need: “[C]onnecting with friends and family is one of the jobs to be done or core purposes that

the Facebook application provides today.” 4/14 (MZ) 163:22-25, 164:1-10 (emphasis added).

Likewise, “connecting with friends and family is one of the jobs to be done that Instagram offers

to users at the present time.” Id. 181:13-19; 4/15 (MZ) 195:24-196:4 (emphasis added).

       Of course, something else changed. Meta’s days as a dorm-room startup with no choice

but to compete are long gone. After out-competing MySpace, Facebook rapidly cemented

formidable entry barriers that defeated even a “serious threat” such as Google+, because users

knew that “my friends are on Facebook so I don’t need to go anywhere else.” See 4/14 (MZ)

151:16-20, 191:16-192:1; PX2437-003. Meta’s entrenched monopoly in personal social



                                                 1
      Case 1:20-cv-03590-JEB           Document 624        Filed 07/03/25      Page 7 of 56




networking (“PSN”) services allowed it to increase ad load and reap supracompetitive profits,

which fueled a war chest that enabled Meta to quash actual and nascent competition—$1 billion

for Instagram, $6 billion for Snap (which declined the offer), and $19 billion for WhatsApp.

       The antitrust laws have something to say about that. Section 2 of the Sherman Act bars

Meta from maintaining its monopoly in PSN services “through means other than competition on

the merits.” United States v. Microsoft, 253 F.3d 34, 56 (D.C. Cir. 2001). And “it is hard to imagine

an action that better fits the definition of conduct with anticompetitive effects than a monopolist’s

buying out its rivals.” ECF No. 384 (“SJ Op.”) at 57.

       Why did Meta buy Instagram? To “neutralize a potential competitor.” PX1136-003. In

other words, “Instagram was growing so much faster than us that we had to buy them for $1

billion,” PX15138-001 & 4/15 (MZ) 38:12-41:18, because otherwise “if they grow to a large scale

they could be very disruptive to us.” PX1136-001.

       Why did Meta buy WhatsApp? The risk that WhatsApp would create a social network was

“the biggest threat we have ever faced as a company,” PX11287-001, and “a potential recipe for

[us] not [to] be around in a couple [of] years,” PX12106-002. The WhatsApp purchase eliminated

“a threat to [Meta’s] core business,” PX1103-006, and “buil[t] a competitive moat around [Meta]

on mobile.” PX10271-002.

       The trial evidence confirmed this well-established history, and the legal principle that a

monopolist may not entrench its monopoly by acquiring competitive threats is not in doubt. Meta’s

trial presentation instead advanced three main arguments centered on market definition. But the

trial record and law contradict each of them.

       First, Meta suggested that it competes against the entire internet (and the offline world to

boot) for users’ “time and attention.” But there is no limiting principle to Meta’s “time and



                                                 2
      Case 1:20-cv-03590-JEB          Document 624       Filed 07/03/25      Page 8 of 56




attention” market, SJ Op. at 35, and product markets only consist of “products reasonably

interchangeable by consumers for the same purposes,” id. at 18. Both Meta and third parties

recognize that Facebook and Instagram serve the “core purpose of connecting with friends and

family,” 4/14 (MZ) 164:1-10, 181:13-182:8, and apps that are not designed to serve that purpose—

like TikTok and YouTube—are not substitutes.

       Second, Meta points out that its apps have increasingly added “unconnected” (non-friends

and family) content, like short-form videos (“SFV”) similar to those found on entertainment-

focused apps like TikTok and YouTube. But a monopolist’s decision to layer additional features

and content into its core monopoly does not immunize its monopoly power or expand the relevant

market. A brick-and-mortar hypothetical confirms the logic: if the only supermarket in a town

starts selling pet food, the supermarket would find itself in newfound competition with Petco and

PetSmart. But those competitors would not alter the supermarket’s dominance, because consumers

cannot patron pet-store retailers to accomplish the purpose of buying groceries for the week. That

conclusion holds even if the supermarket’s pet food became popular and made up an increasing

share of shoppers’ grocery baskets. And it holds even if the same consumers purchase pet food

alongside their other groceries. True, Facebook and Instagram integrate SFV into single

applications alongside more conventional means of sharing with friends. But this integration

makes no difference under the law because the consumer cannot accomplish the “same purpose”

of friends and family sharing on TikTok or YouTube any better than the pet owner can purchase

ingredients for lasagna at the pet store. See United States v. Google, 747 F. Supp. 3d 1, 110-16

(D.D.C. 2024) (“Google Search”) (Google’s incorporation of specialized vertical search queries

into its general search engine did not erode its general search monopoly or expand the general

search services market to include specialized search engines). Here, Meta’s profitable expansion



                                                3
      Case 1:20-cv-03590-JEB          Document 624        Filed 07/03/25      Page 9 of 56




into unconnected SFV—which brings Meta into competition with TikTok and YouTube for

consumers who want to watch SFV—does not undermine Meta’s monopoly power in PSN

services.

       Finally, Meta argues that consumers are spending less time on friends and family sharing.

But declining demand is no defense to a monopolization claim. In any event, Americans continue

to consume over a billion friends and family focused posts on Meta platforms each day, and Meta

continues to collect tens of billions annually in ad revenue serving this demand.

       The trial evidence showed that American people have a demonstrated and widely

recognized demand for apps that enable them to share their lives with friends and family.

Americans deserve the benefits of full and free competition in PSN services, as the law demands.

They should not be saddled with Meta’s monopoly and the continuing harms from Meta’s

neutralizing of its competitors. The Court should find Meta liable for violating the antitrust laws

and set this case for a remedies proceeding.

                                     LEGAL STANDARD

       The FTC established its prima facie case that Meta violated Sherman Act § 2 and FTC Act

§ 5 by proving by a preponderance of the evidence: (1) Meta’s possession of monopoly power,

and (2) that Meta has maintained its power “other than through competition on the merits.” SJ Op.

at 16, 54 (cleaned up); see LePage’s Inc. v. 3M, 324 F.3d 141, 167 (3d Cir. 2003). Meta can rebut

the FTC’s prima facie case only by demonstrating sufficient legally cognizable and

“nonpretextual” justifications. SJ Op. at 79-81; Microsoft, 253 F.3d at 59. If Meta does, the FTC

can “rebut that claim” or “demonstrate that the anticompetitive harm of the conduct outweighs the

procompetitive benefit.” Microsoft, 253 F.3d at 59.

       In line with this Court’s prior rulings, the FTC proved at trial that Meta is currently in



                                                4
      Case 1:20-cv-03590-JEB            Document 624         Filed 07/03/25       Page 10 of 56




violation of Section 2. However, the FTC’s request for prospective relief does not require proving

a current violation. “[T]he court’s power to grant injunctive relief survives discontinuance of the

illegal conduct,” including to prevent a “cognizable danger of recurrent violation.” United States

v. W.T. Grant Co., 345 U.S. 629, 633 (1953); FTC v. Accusearch Inc., 570 F.3d 1187, 1201 (10th

Cir. 2009) (holding same when applying FTC Act § 13(b)); U.S. Pub. Int. Rsch. Grp. v. Atl. Salmon

of Me., LLC, 339 F.3d 23, 31 (1st Cir. 2003). And settled doctrine permits litigants to seek

prospective, equitable relief to address “continuing, present adverse effects” of “[p]ast exposure

to illegal conduct.” O’Shea v. Littleton, 414 U.S. 488, 495-96 (1974); see also Wilk v. Am. Med.

Ass’n, 895 F.2d 352, 369 (7th Cir. 1990) (affirming injunction addressing, inter alia, “lingering

effects” of an anticompetitive boycott that ended nearly a decade before trial); NW Environ. Def.

Ctr. v. Gordon, 849 F.2d 1241, 1245 (9th Cir. 1988) (“[W]here the violation complained of may

have caused continuing harm and where the court can still act to remedy such harm by limiting its

future adverse effects . . . [t]he fact that the alleged violation has itself ceased is not sufficient to

render a case moot.”). 1

        Section 13(b) does not alter this law, because Section 13(b)(1)’s “is violating” language,

at most, sets forth a reason-to-believe pleading standard as a prerequisite to “bring suit,” not a

merits inquiry. 15 U.S.C. § 53(b)(1); see also FTC v. Shire ViroPharma, Inc., 917 F.3d 147, 157-

58 (3d Cir. 2019); ECF No. 589-1 at 12-13. Accordingly, the FTC may prevail on liability by

proving pre-trial violations of Section 2, even if Meta somehow lacked monopoly power as of trial.

In a remedies proceeding, the Court may then assess the FTC’s entitlement to equitable relief based

at least on a “cognizable danger of recurrent violation,” W.T. Grant Co., 345 U.S. at 633, and the



1
  The power to grant prospective, equitable relief to address ongoing harms from past law
violations is important in many contexts. See, e.g., Swann v. Charlotte-Mecklenburg Bd. of Ed.,
402 U.S. 1, 15 (1971); In re Flint Water Cases, 960 F.3d 303, 334 (6th Cir. 2020).
                                                   5
      Case 1:20-cv-03590-JEB           Document 624          Filed 07/03/25      Page 11 of 56




“lingering effects” of Meta’s anticompetitive conduct, Wilk, 895 F.2d at 369.

                                            ARGUMENT

        The FTC has shown that Meta maintained its monopoly power “other than through

competition on the merits” by acquiring Instagram and WhatsApp when those apps threatened

Meta’s monopoly. Meta’s monopoly power is made plain both by direct evidence, infra § I.B, and

by its dominant share in the relevant market for PSN services, protected by entry barriers. Infra

§ I.C-F. In turn, the evidence shows that Meta’s acquisitions harmed the competitive process and

consumers. Infra § II. And Meta has failed to rebut the FTC’s prima facie case by proving

sufficient, legally cognizable procompetitive justifications at trial. Infra § III.

I.      Meta Has Monopoly Power Over PSN Services in the United States

        Direct or “indirect or ‘circumstantial evidence’”—namely, the possession of a dominant

share of a relevant market protected by entry barriers—can establish monopoly power. SJ Op. at

17 (quoting Microsoft, 253 F.3d at 51). The FTC established both at trial.

     A. PSN Services Are a Distinct Product Offering Serving a Distinct Consumer Purpose

        Meta and third parties recognize that apps serve different “use cases” or “jobs to be

done”—what antitrust case law calls a consumer’s “purpose.” See Microsoft, 253 F.3d at 52

(products in a market must be “reasonably interchangeable by consumers for the same purposes”).

Mr. Zuckerberg testified that an app’s “jobs to be done” describes “the core purpose of why people

come to use a product.” 4/14 (MZ) 163:22-25. As Mr. Coleman of X explained, firms focus on

“what [users are] coming to our product to try to accomplish.” 4/28 (Coleman) 30:16-31:8; PF 15

(similar from iMessage, LinkedIn).

        Meta and third parties also recognize that friends and family social networking (“PSN

services” or “friends and family sharing”) is a unique job to be done served by certain apps (“PSN

apps”) but not others. PF 15, 42, 48. For instance, Mr. Presser explained that people “use Facebook

                                                   6
     Case 1:20-cv-03590-JEB          Document 624        Filed 07/03/25     Page 12 of 56




to connect and network with friends and acquaintances,” while they use TikTok “as an

entertainment platform.” 4/30 (Presser) 43:23-44:7 & PX13583-007, 44:21-45:4; see PF 59. He

similarly recognized that Facebook and Instagram are “focused on users’ interactions with existing

friends and family” and understood that the “social network components” of Instagram are “why

somebody would predominantly open Instagram.” 4/30 (Presser) 51:18-22, 189:18-190:11.

Mr. Filner of YouTube likewise recognized Facebook and Instagram as having a use case of

“connecting with friends and family,” while YouTube does not—“[t]he core use case of YouTube

is watching video.” 4/17 (Filner) 184:9-25, 151:23-24; see also PF 73-74 (similar evidence).

       Meta’s testimony and records concur. Mr. Zuckerberg has long characterized “Facebook

[as] about real connections to actual friends.” PX0307. And Meta’s executives admit that Facebook

still serves that purpose for consumers. 4/14 (MZ) 164:1-10; 5/14 (Alison) 175:13-19, 174:10-14;

see PF 17-18. Meta’s documents show unequivocally that Meta knows                               is

Facebook’s

PX3006-008, and that even in recent years, “our primary use case is interaction with friends and

family,” 5/14 (Alison) 163:19-24 & PX3008-039; PF 18.

       So too for Instagram. Upon its launch in 2010, consumers used Instagram for the purpose

of sharing their lives with friends and family, and this remains true today. PF 26-27, 30. Meta’s

executives publicly acknowledge that “it’s part of [Instagram’s] core identity to connect people

with friends,” PX0698; its documents consistently recognize that “[p]eople come to Instagram first

and foremost to connect with friends and family,” PX3003-003; and its most recent documents

admit that “[o]ur friends use case remains resilient,” PX12374-002.

       While Meta has dominated PSN services for more than a decade, others have recognized

this demand and attempted to serve it. Google+ and Path provided consumers with a PSN



                                                7
     Case 1:20-cv-03590-JEB           Document 624        Filed 07/03/25      Page 13 of 56




experience but were unable to gain traction against Meta’s monopoly. 4/14 (MZ) 195:20-196:2;

PF 41. Snapchat is the only remaining PSN services competitor of meaningful size in the United

States. PF 33-39. Snapchat has provided a PSN experience since the launch of its Stories feature

in 2013, see PF 34, and Mr. Levenson recognized that

                                        5/19 (Levenson) 34:2-4, 34:25-35:03; PX14959-003.

       Notably, both Meta and third parties recognize that apps serving the purpose of friends and

family sharing differ in kind from other types of apps. See infra § I.C.1(b). Meta’s COO candidly

assessed Google+ as presenting to Facebook, “for the first time, . . . real competition” that meant

“consumers have real choice,” notwithstanding Meta then (as now) facing a bevy of other apps

that can occupy consumer attention. 4/16 (Sandberg) 196:14-201:15 & PX2527-001; see also 4/14

(MZ) 192:2-193:22 & PX2437-001 (the launch of Google+ represented “the first time that there

is something to compare Facebook against head-to-head”). And Mr. Coleman of X described how

the “job of being informed about what your friends and family are doing” (served by PSN apps) is

different from the “job of seeing what’s happening in the world” (served by X), and “[y]ou would

build different products for them.” 4/28 (Coleman) 33:25-34:11.

               B. Direct Evidence Demonstrates Meta’s Monopoly Power

       Direct evidence demonstrates that Meta has had “the power to control prices” and “exclude

competition,” United States v. Grinnell, 384 U.S. 563, 571 (1966), with respect to its PSN offerings

in the United States since at least 2011. This proves Meta’s monopoly power without the need to

define a relevant antitrust market. See SJ Op. at 17 (“When plaintiffs can [] provide ‘direct proof’

of supracompetitive prices that remain protected from erosion through competition, ‘the existence

of monopoly power is clear.’” (quoting Microsoft, 253 F.3d at 51)); Broadcom Corp. v. Qualcomm

Inc., 501 F.3d 297, 307 & n.3 (3d Cir. 2007); PepsiCo, Inc. v. Coca-Cola Co., 315 F.3d 101, 107-

08 (2d Cir. 2002) (“[A] relevant market definition is not a necessary component of a
                                                 8
     Case 1:20-cv-03590-JEB           Document 624         Filed 07/03/25    Page 14 of 56




monopolization claim” where there is direct evidence of monopoly power); Conwood Co., L.P. v.

U.S. Tobacco Co., 290 F.3d 768, 783 n.2 (6th Cir. 2002) (same). Indeed, key aspects of Meta’s

behavior are incompatible with those of a firm facing vigorous competition. This evidence paints

a clear picture of a firm that wields monopoly power.

       Sustained supracompetitive profits. Competition prevents firms from earning sustained

positive economic profits (i.e., profits exceeding a firm’s cost of capital), PF 153, but Meta has

earned extraordinarily high economic profits for years. PF 151. Expert testimony showed that Meta

collects economic profits that are nearly four times (about 36%-41%) its cost of capital (10%). PF

151. This meets Meta economic expert Prof. Carlton’s textbook definition of monopoly power, PF

153, and establishes monopoly power. See Town Sound and Custom Tops, Inc. v. Chrysler Motors

Corp., 959 F.2d 468, 481 n.17 (3d Cir. 1992) (“[C]ourts can also infer market power from direct

evidence of sustained supranormal profits . . . .”). Further, Meta’s extraordinary profits continue

unabated—$130.5 billion in gross profit in 2024 alone—belying Meta’s arguments that recent

developments have eroded its monopoly power. PF 152.

       Undisputed evidence also establishes that Meta’s high profits are due in substantial part to

Meta’s monopoly power over Facebook and Instagram users. PF 154-56. Meta earns nearly all its

revenue and profits from ads shown to users of Facebook and Instagram, and nearly half of that is

from the United States. PF 154. Meta proffered no alternative evidence for the source of its

supranormal profits; notably, Meta’s experts openly disavow that Meta has market power over

advertisers, eliminating that as a potential source. PF 156.

       Profitable increases in quality-adjusted price. The record demonstrates Meta’s “ability

to degrade product quality”—i.e., to increase quality-adjusted price—“without concern of losing

consumers,” which is “proof of monopoly power.” See Google Search, 747 F. Supp. 3d at 118.



                                                 9
     Case 1:20-cv-03590-JEB           Document 624        Filed 07/03/25      Page 15 of 56




       Meta has imposed significant profitable increases in ad load on Facebook and Instagram

despite the uniform industry understanding that “users don’t like ads,” and ads are a “tax” that

reduces user engagement—ads are a price that users pay for Facebook and Instagram. PF 159-61.

For instance, Meta more than tripled Facebook Feed’s ad load between Q3 2014 and January 2025.

PF 333. And in both 2015 and 2018, Mr. Zuckerberg increased Instagram’s ad load, largely to

ameliorate revenue and engagement issues on Facebook. PF 337-38.

       Meta’s executives attempted to brush away this behavior with testimony that ads are not

so bad for consumers, but the evidence—apart from their self-serving testimony—is uniformly to

the contrary. Mr. Systrom confirmed the (uncontroversial) principle that “the reason that

increasing ads on Instagram would hurt engagement [is] because users don’t like ads,” 4/22

(Systrom) 148:17-20; see also id. 106:24-107:15, and third parties testified that users prefer not to

see ads and that ad load reduces user engagement, PF 161. Meta’s actions and records confirm

this: Meta recognized that decreasing ad load on Facebook would help address “engagement

issues,” PX15112-008; and its user surveys show that sentiment has decreased as ad load has

increased, indicating that users perceive higher ad load as a reduction in quality, PF 162.

       Notably, even crediting Meta’s unsubstantiated claims regarding improved ad quality,

Meta has increased ad load rather than let users enjoy both higher-quality ads and a steady or lower

ad load. See PF 163. Meta’s behavior is consistent with a monopolist. PF 163; see Google Search,

747 F. Supp. 3d at 179-80 (raising text ad prices while capturing part of the “headroom” of the

value of quality improvements to customers was evidence of supracompetitive pricing, as “Google

simply could not take this approach in a competitive market”).

       Meta also has increased its quality-adjusted prices by degrading access to friends and

family content, implementing poor privacy practices, and reducing other dimensions of quality.



                                                 10
     Case 1:20-cv-03590-JEB          Document 624        Filed 07/03/25      Page 16 of 56




PF VII.B, VII.D-F. Four separate user sentiment measures of overall quality of Facebook and

Instagram have declined over years and show genuinely poor product quality experiences. PF 326-

30. Yet Meta has lacked a competitive incentive to make improvements, instead favoring higher

profits, PF 151-53, 158, 320-21—a clear signal of monopoly power. See United States v. Dentsply,

399 F.3d 181, 191 (3d Cir. 2005) (price increases and high profits were evidence of monopoly

power); McWane, Inc. v. FTC, 783 F.3d 814, 832 (11th Cir. 2015) (same).

       In the same vein, Meta’s senior executives have recognized its underinvestment in the

friends and family experience on Facebook and Instagram. PF 342. At one point during a

                                      in early 2022, executives noted that though “[f]riend sharing

continues to be a big asset for Facebook . . . we’re not investing as much in it.” PX12497-001; see

also PX14987-002 (by 2019, Meta had “gotten meaningfully less effective at two critical use cases

for people on Facebook”: “check[ing] in on what my friends and family are up to or talking about”

and “shar[ing] what I’m doing, thinking, or interested in with the people I care about”). Meta’s

underinvestment has come despite users signaling their displeasure. PF 341-42. For example, in

an October 2021 review of Meta’s “Feed & Ecosystems,” Meta reported that “many aspects of

friend content today seem to frustrate users,” and that friend content occupied “top user pain

points” and “the top complaints on Feed,” with users “want[ing] more friend posts” and “more

friend actor diversity” on their Feeds. PX3008-040; PF 341.

       Meta has similarly pursued poor privacy practices. Meta compiles “[a] ludicrous amount

of data” about its users, 5/8 (Schultz) 266:22-24, which it leverages to drive its cash-cow

advertising business, PF 348. Meta has also failed to protect user data, as exemplified by the

Cambridge Analytica breach and others. PF 166, 349. Meta is well aware of user frustration

regarding these privacy practices: Meta’s surveys reveal that “[p]rivacy is the single biggest



                                                11
      Case 1:20-cv-03590-JEB           Document 624         Filed 07/03/25      Page 17 of 56




detractor in our [Cares About Users] surveys” and that “concerns about privacy and data collection

outweigh any potential benefits” of targeted ads. PF 328, 347, 350. But unchecked by competition,

Meta’s practices continue. PF 351-54; see also PF 346.

       Inelastic demand and price discrimination. Meta’s price discrimination by setting a

higher quality-adjusted price for more inelastic users of Facebook and Instagram provides further

evidence of monopoly power. Infra § I.C.1.c; PF 165-73; see also FTC v. Whole Foods Mkt., Inc.,

548 F.3d 1028, 1038 (D.C. Cir. 2008) (price discrimination against inelastic customers is a vehicle

to “extract monopoly profits”).

       Power to exclude. Monopoly power includes the “power to exclude” competition,

Grinnell, 384 U.S. at 571, and Meta and its experts openly claim this power, PF 174. They have

suggested that, absent the acquisition, Meta could “significantly limit” Instagram’s growth, going

into “destroy mode.” PF 174. Far from exonerating, Meta’s statements are an assertion of

monopoly power—no competitive firm has this contemplated ability to crush a rival at will or

deter entry. See, e.g., Dentsply, 399 F.3d at 189-90 (ability to exclude rivals and lack of effective

entry provided evidence of monopoly power).

       C. Meta’s Dominance of the PSN Services Market Demonstrates Monopoly Power

       Monopoly power can also be demonstrated indirectly through high market shares,

protected by barriers to entry, in a relevant antitrust market. SJ Op. at 17. A relevant product market

consists of “all products reasonably interchangeable by consumers for the same purposes.” Id. at

18 (quoting Microsoft, 253 F.3d at 52). Here, consumers rely on PSN apps for the distinct purpose

of social networking with friends and family, and both the Brown Shoe factors and hypothetical

monopolist test (“HMT”) show that non-PSN apps do not offer reasonable alternatives for this

purpose. Accordingly, the evidence establishes a relevant market limited to PSN services in the



                                                  12
        Case 1:20-cv-03590-JEB          Document 624        Filed 07/03/25      Page 18 of 56




United States. 2

              1. The Brown Shoe factors demonstrate that PSN services are a relevant market

          The Brown Shoe factors illuminate the market definition inquiry: “whether two products

can be used for the same purpose, and, if so, whether and to what extent purchasers are willing to

substitute one for the other.” SJ Op. at 19 (quoting United States v. H&R Block, 833 F. Supp. 2d

36, 51 (D.D.C. 2011)); see also Google Search, 747 F. Supp. 3d at 114 (same). They are

“evidentiary proxies” that confirm whether different sets of products are “reasonably

interchangeable.” SJ Op. at 18-20.

          PSN services constitute a relevant market if the evidence shows that “only PSN

applications offer a core use and functionality that serves the demand for friends-and-family

sharing.” Id. at 37 (quotations omitted). Here, practical indicia—namely, their peculiar uses and

characteristics—show that only PSN applications “offer a core use and functionality” that serve

demand for friends and family sharing. Additional practical indicia confirm that the distinctions in

use and functionality between PSN services and non-PSN services render the products different in

kind, and not merely in degree, in serving that demand. See Google Search, 747 F. Supp. 3d at 110

(“The Brown Shoe practical indicia highlight the unique features of a [product in the relevant

market] that make it distinct from other platforms.”). In sum, a “pragmatic, factual approach,”

United States v. Brown Shoe, 370 U.S. 294, 336 (1962), demonstrates that PSN services are a

distinct market because non-PSN apps do not provide consumers with reasonable alternatives for

the particular purpose served by PSN apps.

               (a) PSN apps have “peculiar characteristics and use” for friends and family sharing

          When analyzing whether a product is able to “serve[] the demand for friends-and-family



2
    Meta did not dispute at trial that the United States is the relevant geographic market. PF 13.
                                                   13
     Case 1:20-cv-03590-JEB          Document 624        Filed 07/03/25       Page 19 of 56




sharing,” SJ Op. at 37, actual product use assumes central importance. Here, the peculiar uses and

characteristics of PSN apps demonstrate that they serve demand for friends and family sharing,

and that non-PSN apps are poorly suited for, and do not serve, that demand.

                 (i) PSN apps exhibit a “peculiar use” of friends and family sharing

       As previewed above, Meta’s apex executives and other industry participants testified that

Facebook, Instagram, and Snapchat each have a core use of social networking with friends and

family. See supra § I.A. Mr. Zuckerberg readily agreed that both Facebook and Instagram provide

the job to be done, or “core purpose,” of “connecting with friends and family.” 4/14 (MZ) 1641:1-

10, 181:13-182:8. And the current heads of both Facebook and Instagram agreed. 5/14 (Alison)

173:6-10; 5/8 (Mosseri) 86:11-87:11.

                                                                                               and

competes with Meta to serve the “use case of sharing with friends,” 4/15 (MZ) 134:1-8. See also

4/23 (Lampe) 75:14-25; PF 33-38.

       Likewise, trial testimony confirms that now-defunct PSN apps such as Google+ offered

“the core use case[] for users to connect with friends and family,” 5/15 (Horowitz) 94:16-19, and

competed with Facebook to serve this “use case,” 4/14 (MZ) 195:17-196:8.

       Other widely used apps discussed at trial do not offer this core use case and consumers do

not use those apps to accomplish it. See infra § I.C.3; PF 57-115. As one example, X’s ordinary

course documents and Mr. Coleman’s testimony show that “Twitter is not that good for seeing

what your friends and family are doing and/or that not that many people use it for that purpose.”

4/28 (Coleman) 34:7-36:6 & PX15043-003-04; see PF 83-89. Thus, while X’s “core use case” is

“seeing what’s happening in the world and talking about it,” Facebook differs because “the heart

of Facebook is seeing what your friends and family are doing . . . that’s kind of the original core

use case.” 4/28 (Coleman) 8:11-24, 32:18-22.
                                                14
     Case 1:20-cv-03590-JEB           Document 624        Filed 07/03/25      Page 20 of 56




       Extensive ordinary course and other record evidence further confirms that non-PSN apps

have “core uses” or “jobs to be done” that differ from PSN apps. See, e.g., PF 42. This evidence

includes Meta and third parties’ own app store descriptions. Compare, e.g., PX8013A-005-10, -

023-28, -093-96 (Facebook, Instagram, and Path app store descriptions from 2010 to 2023

prominently mention connecting with friends and family), with, e.g., PX8013A-097-101,

PX8013A-049-60 (Pinterest describes itself as “the place to explore inspiration” and LinkedIn

reaffirms its position as “a professional network”).

       Moreover, Prof. Hemphill’s data analysis demonstrates that PSN apps and non-PSN apps

are used differently: compared to non-PSN apps, PSN apps (a) have high rates of reciprocal

connections, consistent with people sharing with people they know in real life rather than just

following a public figure or having no connections at all; (b) have high rates of posting, indicating

active sharing with friends and family rather than just passively consuming content; and (c) show

notable spikes in activity on friend or family related holidays. PF 7-14, 22, 31, 65, 78.

       Further, both ordinary course and expert surveys show that PSN apps are used for friends

and family sharing, while non-PSN apps are not. PF 13, 49, 72, 95. For example, TikTok’s surveys

and “user research” “constantly” showed a distinction between apps such as Instagram and

Facebook that “people would primarily use to connect with people that they already know,” and

apps such as TikTok and YouTube. Vid. (Morrison) 190:22-193:9; see also PF 72, 81, 88, 95, 98,

104, 105. And Mr. Malkiewicz’s rigorous survey demonstrated that respondents most commonly

selected keeping up with their friends and families’ lives as the most important reason they used

Facebook, Instagram, and Snapchat, whereas non-PSN apps are primarily used for other purposes,

such as entertainment (TikTok, YouTube) and interest-based content and public discussion (X,

Reddit). 5/7 (Malkiewicz) 160:23-165:16, 170:14-175:12.



                                                 15
      Case 1:20-cv-03590-JEB           Document 624         Filed 07/03/25      Page 21 of 56




                 (ii) PSN apps have “peculiar characteristics” that allow them to serve the
                      purpose of friends and family sharing

       PSN apps possess a unique combination of characteristics and functionalities that non-PSN

apps do not. PF 43-47. These design features make friends and family sharing possible and shape

the prevailing norms on PSN apps. PF 47, 51.

       First and foremost, PSN apps include a social graph of real-life friends and family

connections. PF 44. Facebook, Instagram, and Snapchat all offer this feature. PF 44. PSN apps

also have functionality and norms that cultivate this type of social graph, including (a) features

that foster a norm of employing real-life identities and (b) design features that allow users to locate

and build networks of connections with their real-life friends and family. See, e.g., 4/14 (MZ)

161:14-162:6 (“[W]e try to design the product so . . . people use their real authentic identity[.]”);

5/14 (Alison) 208:2-13 (“[R]eal identity does help people connect with other people that they know

in real life[.]”), 205:9-208:1 & PDX0072 (Meta enforces real identity requirement); see PF 44.

       PSN apps also provide a shared social space in which users share personal updates and

interact with their real-life friends and family. PF 45-46. PSN apps allow users to “define a private

community” and limit personal life updates to a particular audience, which encourages users to

share personal content that they would not share on services focused on public content

consumption, such as X and TikTok. See 4/14 (MZ) 155:6-158:15; PF 45-46. Consumers opening

Facebook, Instagram, and Snapchat thus enter broadcast sharing environments—surfaces like Feed

and Stories—in which a network of personal connections regularly post, comment, or offer

reactions regarding personal life events. PF 20, 29, 34, 36, 43-47. These spaces enable low-cost

interaction with a broad network of friends and family in one “place”—even though the people in

a user’s network do not necessarily know each other—and thus dramatically reduce transaction

costs compared to mobile messaging applications or email. PF 45, 107-11; see infra § I.C.3(c).


                                                  16
     Case 1:20-cv-03590-JEB           Document 624        Filed 07/03/25      Page 22 of 56




       Non-PSN apps lack these distinctive characteristics. First, non-PSN apps lack a friends and

family social graph. Some non-PSN apps lack a social graph entirely (YouTube, Pinterest, Reddit),

or are based on a “content graph” (TikTok) or interest-based graph (X). See PF 62-63 (TikTok),

76 (YouTube), 86 (X), 92 (Reddit), 97 (Pinterest). Others have an “orthogonal” social graph:

“Facebook connects friends and family, Linkedin connects co-workers, Nextdoor connects

neighbors.” See PF 50, 104, 105 (citing PX2389).

       Second, non-PSN apps typically lack connection tools to build networks, and/or lack a

norm of real-life identity, or lack both. PF 14, 47, 64 (TikTok), 77 (YouTube), 93 (Reddit). Apps

that lack functionality allowing users to search for their real-life friends, such as iMessage and

other mobile messaging services, do not enable users to rapidly establish connections and grow a

social graph. PF 111. The same is true of services that lack a norm of real-life identity, such as

TikTok, YouTube, and Reddit: even if such an app allows users to search for accounts or

recommends accounts to follow, the feature does not help identify real-life friends unless the

account reveals the actual identity of the user. PF 64, 76-78, 93; cf. 5/14 (Alison) 208:2-13.

       Finally, non-PSN apps lack social spaces regularly used for friends and family sharing.

Messaging apps are designed for private communication rather than broadcast sharing. See infra

§ I.C.3(c); PF 110. And while other social media apps such as TikTok, LinkedIn, and Strava have

feeds, they consist of content devoted to entertainment, professional, or specialized interests. PF

59-72, 102-04.

                 (iii) A lack of “core use and functionality” for friends and family sharing means
                       non-PSN apps are not reasonable substitutes

       As detailed above, PSN apps have a core use and functionality for friends and family

sharing, while non-PSN apps do not. Supra § I.C.1(a)(i), (ii). Additional evidence confirms that

these practical indicia resolve “the question of substitutability.” SJ Op. at 39. In particular, the


                                                17
      Case 1:20-cv-03590-JEB          Document 624        Filed 07/03/25      Page 23 of 56




evidence shows the salience of norms and network effects in shaping consumer behavior, which

underscores why a lack of core use and functionality for friends and family sharing makes non-

PSN apps not well suited for serving this demand. PF 10.

        First, the FTC showed at trial that a social product is not useful for a particular purpose

unless other people actually use it for that purpose. As Mr. Zuckerberg acknowledged, “if you are

using a social app, an important part of the value is that the people you care about and the content

you want to see needs to be there . . . [I]f, obviously, you sign up for an app and no one you know

and nothing you are interested in is there, it doesn’t matter how good the technology is.” 4/16 (MZ)

48:15-25; PF 10; see also PF 144 (PSN services exhibit strong network effects).

        Industry experience confirms that the norms of an app—how people normally use an app—

shape how people are willing to use an app. PF 10-11. As Mr. Ortega of Strava colorfully

described, no one would “share baby pictures” on Strava—a social app focused on fitness—unless

“the baby is in a stroller during a run.” 4/28 (Ortega) 101:23-102:16. This explains why the

theoretical ability to build connections and engage with friends on non-PSN apps is not an actual,

realistic alternative. PF 14.

        In the same vein, apps with largely pseudonymous users like TikTok and Reddit are not

good places for friends and family sharing because the norm of pseudonymity actively conflicts

with users’ ability to maintain relationships with friends and family. See PF 64, 93; 4/23 (Lampe)

96:8-97:2, 100:8-102:10 (“[T]he reason why [real-identity] is so important is because if I am

looking for people to connect to from my offline life, I actually have to be able to find them to

know who they are.”);



        For similar reasons, the norms governing consumers’ use of an app are difficult to change,



                                                18
      Case 1:20-cv-03590-JEB          Document 624         Filed 07/03/25       Page 24 of 56




and thus it is difficult for apps to successfully change their core use case.




       Second, the evidence showed that the characteristics of an app are important to the purposes

an app can serve: design elements and functionality both dictate whether a product is theoretically

capable of being used for a particular purpose, and shape norms and actual usage. PF 9-11, 47, 67-

71, 147; 4/23 (Lampe) 70:9-71:24 (explaining how “design choices of an online service in turn

shape norms”). Norms and usage are shaped by the app’s characteristics, including the default user

experiences through which apps signal and foster their intended use. PF 11. Mr. Presser of TikTok

described how the “For You” feed, where users discover unconnected video content based on their

interests, is the “fundamental user experience” on TikTok, which explains why the overwhelming

majority of content on TikTok originates from “people that would be strangers.” 4/30 (Presser)

60:17-23, 149:13-16; see PF 66. By contrast, neither Facebook nor Instagram open onto Reels,

choosing to center the user’s experience on friends and family content in Feed and Stories. PF 20,

29. Similarly, in prompting (or not) people to use their real name in setting up accounts, apps can

foster (or discourage) a norm of real identity that supports friends and family sharing. PF 44; cf.

Vid. (Raymond) 250:13-252:17, 254:1-22 (discussing how Reddit, in contrast to Facebook, does

not prompt users to give their real names).



                                                 19
     Case 1:20-cv-03590-JEB          Document 624        Filed 07/03/25     Page 25 of 56




             (b) Industry participants and consumers recognize that PSN services differ from
                 other online services

       Industry participants recognize that PSN services are different. PF II.A.2.c. Meta itself

recognizes that Facebook and Instagram serve a distinct demand for friends and family sharing.

E.g., PX3008-039 (“Our [Facebook’s] primary use case is interaction with friends and family.”);

PX12374-002 (“The two main jobs that people hire Instagram for are catching up with friends and

being entertained.”); PF 18, 30, 42. Snapchat recognizes the same. E.g., PX8013A-110-17

(Snapchat self-describing as a “way to share the moment with your friends and family”); PF 36.

       Likewise, TikTok recognizes that “social networking services,” which “enable people to

build and maintain social networks or relationships,” differ from “content creation and sharing

services”—like TikTok itself—and also from “communications services.”                        4/30

(Presser) 35:4-36:4; PF 42, 61, 112. Other third parties confirm this market reality. E.g., 4/28

(Coleman) 35:1-22 & PX15043-004 (the only apps in X’s competitive landscape “really good at”

“seeing what my friends and family are doing” are Facebook, Instagram and Snapchat, and user

research supported this conclusion); 4/28 (Roberts) 163:6-164:8 (Pinterest is not a social network

because “Pinterest is not focused on connecting people to other people”); PF 50. Ordinary course

documents and public statements, including Apple App Store descriptions, bear out the same point.

E.g., PX0823-002 (X App Store description, April 2025); PF 17, 26, 36.

       Consumers recognize the same distinction. Meta’s ordinary course surveys show that

consumers understand that sharing with friends and family members is an important reason they

use the feeds of Facebook, Instagram, and Snap, and that this is not true for non-PSN services. PF

25, 32, 35, 49, 72, 81, 88, 95; see also PX3431-001 (survey showing “Facebook was seen as the

best app to keep up with family/friends who are far away” and “Instagram was seen as the best

app for seeing interesting photos/videos shared by friends,” whereas YouTube, Twitter, and


                                               20
     Case 1:20-cv-03590-JEB           Document 624        Filed 07/03/25      Page 26 of 56




WhatsApp were best for different purposes). These results are confirmed by Mr. Malkiewicz’s

survey, which showed that consumers identified “keeping up with friends and family” as the most

important reason they use Facebook, Instagram, and Snapchat, and at vastly higher rates than

TikTok, YouTube, Twitter, or other applications. PF 25, 32.

       The public recognition that PSN and non-PSN apps serve distinct purposes has particular

evidentiary force in establishing that non-PSN apps are not reasonable substitutes, because public

recognition shapes the norms that govern user activity, and thus dictates whether an app is useful

to others for a particular purpose. See PF 10.

             (c) Consumers of PSN services are insensitive to quality-adjusted price increases
                 and vulnerable to price discrimination

       Evidence that consumers of Meta’s PSN services are insensitive to quality-adjusted price

increases and also vulnerable to price discrimination confirms the relevant market. See SJ Op. at

31-34; Brown Shoe, 370 U.S. at 325.

       Extensive evidence shows that Meta has profitably raised quality-adjusted price on

Facebook and Instagram, including more than tripling Facebook Feed’s ad load over the last

decade. Supra I.B. But despite significant user dissatisfaction—at times at the level of one of “the

worst companies in the U.S.”—Meta has not lost substantial business. PF 326, 329, 341, 350;

supra I.B. Indeed, Meta’s analysis of the Cambridge Analytica incident demonstrated that use of

Facebook did not decline despite significant consumer displeasure. See PF 166, 328. Users’

insensitivity to these profitable increases in quality-adjusted price demonstrates that non-PSN apps

are not reasonable substitutes. See FTC v. Staples, 970 F. Supp. 1066, 1078 (D.D.C. 1997).

       Additionally, Meta can and does price discriminate against its customers who have the

greatest demand for friends and family sharing, which further confirms PSN services as a relevant

market. See Whole Foods, 548 F.3d at 1038-39 (core customers with demand for relevant product


                                                 21
     Case 1:20-cv-03590-JEB           Document 624        Filed 07/03/25      Page 27 of 56




who were vulnerable to price discrimination confirmed the existence of relevant market); SJ Op.

at 31-34. The “can” is not in dispute. Meta collects copious information about users and controls

what every user sees any time they open an app. PF 343 (underinvestment and ranking algorithms),

345 (differentiation of social graphs), 348. Meta raised objections to the “does” at trial, but core

elements of the evidence are undisputed. First, Meta’s ad load system is intentionally designed to

impose higher ad load on more inelastic users, including through practices such as the “needy user

rule” that reduce ad load if users display flagging usage. PF 168. Second, undisputed evidence

shows that Meta imposes higher ad load on user cohorts (older and longer-tenured users) that are

more likely to value Facebook and Instagram to engage with friends and family. PF 171-72; see

also SJ Op. at 33. And Meta’s underinvestment in friends and family content also reduces quality

for those users who value that experience. PF 170, 340-45.

       Meta also price discriminates by placing more ads (i.e., raising quality-adjusted price) on

Facebook Feed and Instagram Feed and Stories—the shared social spaces on which extensive

friend and family sharing occurs—than on Reels and other app surfaces. PF 155, 169. Indeed,

Meta’s reaping of more than 80% of its North American ad revenue and more intensely monetizing

Facebook Feed and Instagram Feed and Stories—the surfaces of the apps most closely associated

with friends and family sharing—parallels key facts of Whole Foods. See PX8109-PX8110; PF

155; Whole Foods, 548 F.3d at 1039-40 (evidence supporting relevant market included that

premium organic supermarkets earned most of their revenue from specialty organic perishables

not available in regular supermarkets).

       Notably, Meta’s price discrimination results in most users receiving Meta’s highest ad load

levels, while only a minority receive relatively lower ad load, PF 173: a further indicator that

Facebook and Instagram have many “‘core’ users whose demand is relatively inelastic, which



                                                22
     Case 1:20-cv-03590-JEB           Document 624        Filed 07/03/25      Page 28 of 56




signals that they have few other substitutes,” see SJ Op. at 32 (citing Whole Foods, 548 F.3d at

1037-38). While this evidence is not legally required, id. at 37-38, it confirms that competition for

marginal users does not constrain Meta’s monopoly power.

             (d) PSN apps have unique production facilities

       The “unique production facilities” factor is informative because it illuminates a would-be

competitors’ ability to shift into the PSN market. SJ Op. at 31 (citing Rothery Storage & Van Co.

v. Atlas Van Lines, Inc., 792 F.2d 210, 218 n.4 (D.C. Cir. 1986)). Here, a network of users engaged

in friends and family sharing with their connections represents a “unique production facility” that

PSN apps possess and non-PSN apps do not. PF 54. Due to network effects, other apps are unable

to offer PSN services effectively even if they have the technical know-how to replicate Facebook

and Instagram’s features. PF 145-49; infra § I.F. Even competitors like Google failed. PF 147.

           2. A hypothetical monopolist of PSN services in the United States would profitably
              raise quality-adjusted price above a competitive level

       The HMT provides further evidence that PSN services are a properly defined relevant

market. See SJ Op. at 20. In this case, the HMT asks whether a single firm controlling all PSN

apps in the United States would profitably raise the quality-adjusted price compared to a

competitive market. PF 131. Economists often must evaluate the HMT using qualitative evidence,

particularly in monopolization cases. PF 133; see McWane, 783 F. 3d at 829-30 (affirming use of

a qualitative HMT analysis because “courts routinely rely on qualitative economic evidence to

define relevant markets”) (cleaned up); see also 2023 Merger Guidelines § 4.3.C (“qualitative and

quantitative evidence” used to apply HMT).

       Prof. Hemphill found that the HMT is satisfied for PSN services in the United States,

drawing on a wealth of qualitative evidence and quantitative analysis. PF 132. He demonstrated

empirically that PSN apps and non-PSN apps are used in materially different ways by consumers.


                                                 23
      Case 1:20-cv-03590-JEB          Document 624         Filed 07/03/25      Page 29 of 56




PF 22, 31, 65, 78. And he explained the economic significance of the evidence: given norms and

network effects, non-PSN apps that lack core use and functionality for friends and family sharing

are inhospitable places for this form of consumer demand, and cannot discipline decisions to

degrade quality by a hypothetical monopolist. PF 132. Direct evidence confirms this: Meta has

reaped supracompetitive profits and used its control of Instagram to increase ad load and reduce

quality for more than a decade. PF 132, 159. Indisputably, a monopolist owning not only Facebook

and Instagram but also Snapchat, would also be able to recognize supracompetitive profits.

           3. Prominent non-PSN apps are not reasonable substitutes

       Non-PSN apps do not “offer a core use and functionality that serves the demand for friends-

and-family sharing,” and should be excluded from the relevant market. See SJ Op. at 37; PF

II.A.3.a (video); II.A.3.b (interest-based); II.A.3.c (specialized); III.A.3.d (messengers).

             (a) TikTok

       Multiple TikTok witnesses established that, unlike Facebook and Instagram, TikTok does

not serve the demand for friends and family sharing. Mr. Presser testified unequivocally that

TikTok does not offer “social networking services” in the United States today. 4/30 (Presser)

37:11-38:17, 38:18-39:9; 41:20-23;                         ; see also 35:4-13 (defining “social

networking services” as “online platforms which people use to build and maintain social networks

or social relationships”);                . Two other senior TikTok executives—V Pappas and

Blake Chandlee—confirmed this. PF 59. All three witnesses explained that TikTok is an

“entertainment platform,” not a social network. 4/30 (Presser) 43:21-44:7 & PX13583-007; Vid.

(Pappas) 14:8-15:10, 22:4-23:2; Vid. (Chandlee) 19:10-21:16 & PX11521-002.

       TikTok has a fundamentally different use from PSN apps—while users “check” Facebook,

they “watch” TikTok. PF 61. Mr. Presser explained that TikTok is “not intended for networking

purposes,” 4/30 (Presser) 38:18-39:9;                     , and that “[t]he predominant form of user

                                                 24
     Case 1:20-cv-03590-JEB          Document 624         Filed 07/03/25     Page 30 of 56




interaction within TikTok is not network driven.” 4/30 (Presser) 42:16-43:8; PX13582-004.

Objective data confirms these differences as TikTok has

                                           See PF 65, 71. And TikTok’s ordinary course consumer

surveys further confirm that, unlike PSN apps, TikTok is not “primarily use[d] to connect with

people that they already know.” Vid. (Morrison) 190:22-193:9; see also supra § I.C.1.a.

       TikTok’s characteristics also differ markedly from those of PSN apps. Most notably,

TikTok is not based on a social graph, but instead on a “content graph.” 4/30 (Presser) 46:15-25,

47:10-21; Vid. (Pappas) 21:11-22; Vid. (Chandlee) 17:7-21. Further, TikTok has a norm of

pseudonymity or anonymity, which is inconsistent with friends and family social networking. PF

64; see 4/30 (Presser) 62:8-22, cf. 5/14 (Alison) 208:2-13.

       Like TikTok itself, see PF 59-67, other industry participants confirmed that TikTok lacks

the uses and characteristics of PSN apps. For example,                testified that




                              ; see also



       TikTok’s core use has not been altered by its attempts to offer “aspects of personal

socialization,” including a “Friends” tab that presents content from reciprocal connections, and

messaging functionality. 4/30 (Presser) 44:8-45:4; PF 68. Mr. Presser explained that features were

developed to be “additive to the entertainment experience,” 4/30 (Presser) 63:1-9, and have not

altered “the predominant purpose for which users open the TikTok application,” which is “to be

entertained.” 4/30 (Presser) 189:18-190:11, 191:3-25. TikTok’s experiences with such features

confirm the difficulty of altering the norms of a service: after three years, the “Friends” tab has



                                                25
      Case 1:20-cv-03590-JEB          Document 624            Filed 07/03/25   Page 31 of 56




been unsuccessful and receives only “very miniscule” usage. Id. 55:9-56:21; see also



             (b) YouTube

       Mr. Filner testified that “[t]he core use case of YouTube is watching video”—not engaging

in friends and family sharing. 4/17 (Filner) 151:23-24. As Google explained: “A user comes to

YouTube primarily to find and consume video content,” whereas “users go to social media

platforms to connect to other end-users, usually within an identified social circle . . . [t]hose are

not the reasons that users generally visit YouTube.” PX13494-002, -006-07. Accordingly, “[u]sers

generally use social media platforms [e.g., Facebook] and YouTube for different purposes,” id. at

-006, and YouTube does not compete for “use cases that only social media platforms such as

Facebook can satisfy,” 4/17 (Filner) 183:5-18 & PX13494-012.

       YouTube lacks the uses and characteristics of PSN apps. Data shows that the uses of

YouTube differ:



           PX13494-002;                                  Mr. Filner testified that YouTube does not

“have a social graph based on friend and family connections,” and that facilitating connections

with friends and family is “not its focus.” Id. 174:7-14. He also confirmed that YouTube lacks a

Stories feature, any requirement that users have an account (let alone an account tied to their real

identity), and messaging. PF 76-77, 147; see also PX13494-007 (“Because YouTube does not have

a social networking purpose, it does not offer core features of social media platforms that are

designed to facilitate social interaction between users.”).

       Industry and public recognition confirms that YouTube is an “entertainment platform” and

not a “social network.” Vid. (Pappas) 88:5-89:7; see also 4/30 (Presser) 42:3-6 (YouTube does not

“offer personal social networking services”); PF 81 (survey evidence). And as detailed above,
                                                 26
     Case 1:20-cv-03590-JEB            Document 624      Filed 07/03/25      Page 32 of 56




YouTube’s experience with adding limited social features underscores that it is unable to serve the

demand for friends and family networking, as the additional features

           were deprecated. Supra § I.C.1.a.iii; PF 79. This is consistent with Meta’s own

observation that whereas Instagram and Snapchat “are all about sharing,” YouTube is “passive

consumption.” PX11972-002. YouTube’s

                explains why Google attempted to launch a separate personal social networking

service (Google+) in 2011, and why Meta viewed Google+, not YouTube, as providing “real

competition” for the first time. PX2527-001; PF 41.

             (c) iMessage and mobile messaging apps

       Mobile messaging apps, which focus on communications “with individuals and small

groups,” 4/29 (Shah) 228:20-25, are not reasonable alternatives. PF 106, 110.

       Meta and other industry participants recognize that mobile messaging applications are not

PSN services. PF 112. For example, Mr. Zuckerberg informed Meta’s Board of Directors that

“[t]here are many countries where WhatsApp is the leading messaging service and Facebook is

the leading social network,” PX15115-001, and other ordinary course documents clearly

distinguish apps offering the “social networking use case” (e.g., KakaoStory) from those offering

the “messaging use case” (e.g., KakaoTalk). PX11079-001; see also PX11080-001 (“DESPITE

KakaoTalk launching a full social networking competitor called KakaoStory . . . we have once

again overhauled to be the top pure social network in Korea.”); PX2518-002 (“Facebook is a social

network; WhatsApp is a real-time messaging service.”);




                         see PF 112.

       Industry recognition that mobile messengers and PSN services differ is borne out by their
                                                27
     Case 1:20-cv-03590-JEB           Document 624        Filed 07/03/25      Page 33 of 56




distinct uses. Users of mobile messaging apps “want to exchange urgent messages with a single

recipient or a small group of their inner circle.” PX3002-002; PF 107-08. This purpose shapes both

norms regarding what types of content people share, and expectations for how users of mobile

messengers should engage with content. Specifically, the norms of messaging apps demand more

prompt responses—multiple trial witnesses testified that users view a mobile message as a time-

sensitive communication to which a response is expected, unlike a broadcast post which does not

carry that expectation. PF 108-09.

       Mr. Shah of Apple testified that iMessage is fundamentally unlike PSN services. See 4/29

(Shah) 215:13-15 (testifying that Apple does not “currently offer a personal social networking

service like Facebook or Instagram”). Because Apple is attempting to serve a mobile messaging

use case, Apple’s services are “optimized for communicating with another individual or with a

small group, a group up to 32 people,” 4/29 (Shah) 223:13-19. This leads to iMessage’s distinct

functionality and characteristics: iMessage lacks a social graph and friend-finding tools, which

leads to a “distinctive experience.” 4/29 (Shah) 239:23-240:7. It also lacks a “feed,” which leads

to “meaningful differences between the form of communication that you would participate in in a

Messages app versus an app that’s about broadcasting with a feed.” 4/29 (Shah) 237:1-10.

Likewise, a person’s contact list on a mobile messaging app is not a substitute for the social graph

provided by PSN apps because a contact list does not contain the same universe of people, and

mobile messaging apps do not allow people to grow their list of contacts by searching for phone

numbers they do not already have. PF 111, 113.

       The existence of group chats does not allow mobile messengers to serve the core use and

functionality of PSN apps because an attempt to use a group chat to engage in broadcast sharing

would result in an overwhelming volume of messages and violate mobile messaging norms of



                                                28
     Case 1:20-cv-03590-JEB           Document 624        Filed 07/03/25      Page 34 of 56




urgency and rapid response. See PF 108-10; 4/23 (Lampe) 144:8-145:20. Further, group chats do

not allow each user to design the sort of “private community” that each user is able to construct in

a PSN app, see PF 45, so users are not encouraged to share the same types of personal content in

group chats that they would share to a bespoke set of their friends and family members. PF 108-

10; 4/23 (Lampe) 143:13-144:7.

       Likewise, the existence of the “share sheet”—a feature of certain apps that allows users to

pass certain information from one app to another—does not mitigate the different uses and

characteristics of mobile messengers and PSN apps. PF 113. The ability to transmit, via mobile

messenger, content sourced from other apps does not alter the uses or characteristics of the mobile

messaging service. Id. Further, revealingly, “share sheets” cannot enable users to share core friends

and family content—a post or story shared by a Facebook friend—through a text message. See PF

113; 5/14 (Alison) 179:22-182:17.

       Meta recognizes these realities, which is why it has repeatedly characterized messaging

apps as a complement to broadcast sharing, rather than as a substitute. PF 114. Cf. Google Search,

747 F. Supp. 3d at 115 (complementary goods do not belong in the same relevant market).

       D. Meta’s Arguments Do Not Undermine the Market for PSN Services

       Meta failed to show that any non-PSN app is a reasonable substitute for PSN services, and

its arguments criticizing the relevant market are flawed for multiple reasons.

           1. A market for time and attention is baseless

       Meta’s assertion that it competes with non-PSN apps for “time and attention” fails to refute

the relevant market for PSN services. See SJ Op. at 34-35 (it is “beyond cavil that companies can

operate in multiple and concentric relevant markets”). A “time and attention” market would

include an “infinite range of possible substitutes” and is uninformative to an antitrust case, where

“the purpose of the inquir[y] into market definition” is to determine “the potential for genuine

                                                 29
     Case 1:20-cv-03590-JEB           Document 624       Filed 07/03/25      Page 35 of 56




adverse effects on competition.” FTC v. Ind. Fed’n of Dentists, 476 U.S. 447, 460 (1986); see also

SJ Op. at 20, 35; 4/28 (Coleman) 30:2-31:8 (jobs to be done framework more informative than

discussions of competition for attention).

           2. Unconnected content in Facebook and Instagram does not undermine the relevant
              market for PSN services or Meta’s monopoly power

       Meta’s argument that it competes with non-PSN apps that offer unconnected content, such

as unconnected SFV, fails to undermine the relevant market or Meta’s monopoly power. As this

Court observed, products within a relevant market commonly compete with out-of-market

products, both within a broader overall market and for components of a particular product offering.

See, e.g., SJ Op. at 20-21, 34-37; H&R Block, 833 F. Supp. 2d at 54. But the relevant question is

whether the products at issue are “reasonably interchangeable by consumers for the same

purposes.” Microsoft, 253 F.3d at 52 (cleaned up). As detailed below, Meta’s efforts to increase

time spent through unconnected content in no way expands the relevant market beyond PSN apps,

because Meta’s efforts have no effect on any non-PSN app’s ability to serve the strong and ongoing

demand for friends and family sharing. PF 116, 125-29.

       The trial record makes plain that, notwithstanding Meta’s inclusion of unconnected content

in Facebook and Instagram, those apps remain firmly rooted in friends and family sharing and

demand for that “job” remains enormous. PF 20-25, 29-32. Mr. Zuckerberg concedes that “friend

sharing” on Facebook and Instagram “continues to be a thing that people care about,” as do Mr.

Alison and Mr. Mosseri. 4/14 (MZ) 181:20-182:8; PF 120-21. More than a hundred million

Facebook and Instagram users in the United States post each month, with tens of millions of

personal posts. PF 22, 31; see also 5/13 (Hemphill) 52:18-53:16 & PDX0090-132-35 (PX8146-

8147) (broadcast sharing on Facebook and Instagram remains large). And even using Meta’s

overly restrictive classifications of what counts as “friend” content, Facebook and Instagram users


                                                30
     Case 1:20-cv-03590-JEB           Document 624        Filed 07/03/25      Page 36 of 56




in the United States consumed dozens of pieces of friend content per day in January 2025. PF 24,

31. Likewise, the vast majority of users use Facebook and Instagram to share with friends and

family, even if they spend some time on unconnected content. PF 121. For instance, unrebutted

data indicates that almost no one uses the apps only for Reels. PF 121. And a 2024 Pew Research

survey similarly confirmed that over 90% of Facebook users and over 80% of Instagram users

come to the apps to keep up with friends and family. PF 25, 32.

       Meta’s increase in unconnected content shows Meta’s interest in earning even more money

by increasing time spent of users who are already on the apps to engage with friends and family.

Meta’s ordinary course documents make this plain. By 2021, Facebook and Instagram had been

widely adopted in the United States, leaving Meta less able to increase total time spent simply by

adding more users. Cf. 5/12 (Schultz) 174:22-176:4 (agreeing that Facebook’s growth rate has

slowed because it “has simply run out of Americans”); PF 119. Increasing time spent per user held

the promise of increasing total time spent, but time spent per DAU on Feed and Stories had largely

stabilized on Facebook by 2017, and on Instagram in early 2018—i.e., before TikTok achieved a

significant position. See DX522 at 17; PF 59. This did not mean that friend content was no longer

highly valued by users—to the contrary, the evidence from this period establishes that friends and

family sharing represented the core use of Feed and Stories, and that users highly valued friend

content. PF 120-21; DX522 at 3. Rather, Meta viewed interspersing unconnected content with

friend content as a way to grow time spent, as the volume of potential unconnected content

generally outstrips what a person’s friends post. 5/8 (Mosseri) 161:24-162:18 (describing friend

content as having a finite quality while there are “billions” of daily pieces of unconnected content

to show people); PF 119.

       Accordingly, Meta launched initiatives aimed at “shifting . . . towards Public Content,”



                                                31
     Case 1:20-cv-03590-JEB          Document 624       Filed 07/03/25      Page 37 of 56




while resolving to “protect our core use case” and explicitly recognizing that “[o]ur primary use

case is interaction with friends and family.” PX3008, -039 & 5/14 (Alison) 162:12-165:3; see also

id. 173:14-174:9 & PX10236-002 (June 2022 strategy document describing “discovery engine”);

DX522 at 3 (strategy to achieve incremental growth in time spent from “entertainment/video” even

as “people report connecting with close friends as the most important activity on IG”); PF 123.

       Notably, throughout Meta’s increase of unconnected content on Facebook and Instagram,

friend content has remained highly valued by users—                                      PF 120;

PX3390-062 (October 2022 analysis concluding that original feed and stories posts “enjoy[] the

strongest network effects”), -074 &



Confirming this, Meta received user blowback from increases in unconnected content on

Instagram, PF 122, learning from this that unconnected content recommendations “should not

displace friends and family content,” PX12372-032, PF 123. To the same end, Meta has routinely

described unconnected content on Facebook and Instagram as an intertwined or “symbiotic” part

of the apps’ friends and family sharing experience—rather than as an attempt to replace friend

content or even replicate the passive consumption approach of TikTok and YouTube. See PF 117-

18 (unconnected content on Facebook and Instagram intertwined to allow engagement with

friends), PF 123. And data similarly reveals that Reels is generally providing incremental growth

in time spent, not materially impacting Feed and Stories. PF 124.

       In turn, Meta’s incorporation of unconnected SFV into Facebook and Instagram brings

Meta into competition with TikTok and YouTube but does not mean that TikTok and YouTube

are reasonable substitutes for consumers to accomplish friends and family social networking—

only PSN apps serve that purpose. PF 116, 125-26, see also PF 60-67, 73-78.



                                               32
     Case 1:20-cv-03590-JEB           Document 624        Filed 07/03/25      Page 38 of 56




       Google Search is instructive. In that case, Google argued that the general search engine

(“GSE”) market was too narrow in part because Google had “developed verticals” beyond general

search that put it in direct competition with “specialized vertical providers” (“SVPs”) like travel-

booking sites and e-retailers such as Amazon. 747 F. Supp. 3d at 111-14 (D.D.C. 2024). Google

had integrated those verticals into its overall search offering, and results from its new verticals

appeared on its general search page. See id. at 42. Despite this integration of travel and shopping

results that directly competed with SVPs, the court rejected Google’s arguments, holding that

SVPs were properly excluded from the market:

       No one disputes that an SVP can serve the same purpose as a GSE for an individual
       query on a particular subject matter. A user can, for example, use either Google or
       OpenTable to find a nearby Japanese restaurant, or turn to Google or Amazon to
       shop for a blender. But no SVP can fulfill a user’s varied needs in the same manner
       as a GSE. Few SVPs can provide answers to noncommercial queries or take a user
       to a desired location on the web through a navigational query. And no SVP can
       answer long-tail queries like a GSE. Thus, an SVP may be reasonably
       interchangeable with a GSE for a discrete purpose but for not the “same purposes.”

Id. at 114 (quoting Microsoft, 253 F.3d at 52).

       So too here. A consumer might encounter the same SFV on Instagram Reels as on TikTok

or YouTube. And Meta consequently claims “fierce” competition with non-PSN apps for that

content. (Google did, too. Id. at 113-14 (“Google does perceive and respond to competitive

pressure from other platforms, particularly SVPs.”)) But consumers cannot turn to TikTok or

YouTube for friends and family sharing. See, e.g., PF 60-67, 73-78. As such, SFV competition for

content integrated into the Facebook and Instagram apps—like the integration of specialized

search results into Google’s search product—does not undermine Meta’s monopoly of PSN

services or warrant inclusion of non-PSN apps into the relevant market: they do not offer the same

“cluster of services,” United States v. Conn. Nat’l Bank, 418 U.S. 656, 662, 664 (1974), and do

not serve the demand for friends and family sharing. See SJ Op. at 37; Grinnell, 384 U.S. at 572-


                                                  33
     Case 1:20-cv-03590-JEB           Document 624        Filed 07/03/25      Page 39 of 56




73 (finding a relevant market for central-station security services even though parts of that service

offering were also available separately); Whole Foods, 548 F.3d at 1053-54 (upholding relevant

market for premium organic groceries even though such grocers carried goods available in regular

supermarkets); FTC v. Kroger Co., 2024 WL 5053016, at *10-11 (D. Or. Dec. 10, 2024) (Costco

and other popular food supply stores excluded from relevant market of traditional supermarkets,

because they were not substitutes for the purpose of a one-stop-shopping experience).

       In a sense, Meta’s position that consumers who desire to consume SFV can turn to TikTok

and YouTube in addition to Facebook and Instagram argues about a different potential market in

a different case—but that does not undermine the PSN services market because “it is beyond cavil

that companies can operate in multiple and concentric relevant markets.” SJ Op. at 34-35.

       Trial evidence confirmed these firmly established legal principles. Meta recognized that

Google+ represented a “complete replacement” for Facebook—not a competitor for a discrete part

of the Facebook app. 4/14 (MZ) 192:23-193:18; PF 126. But this is true only of services like

Google+ that compete to offer consumers “the use case of online sharing with friends.” 4/14 (MZ)

195:23-196:2; see also PX10598-008 (“generic time spent threat” from mobile messengers

different from threat posed by those that moved into “core social networking product areas” and

posed a “direct threat to our primary products”). Snap executives likewise explained that Snapchat

competes only with PSN services for the friend sharing use case offered by Snapchat Stories, while

it competes with non-PSN services for the SFV use case served by its Spotlight feature, and

messaging services for its messaging features. Vid. (Andreou) 24:7-25:19; PF 50. And other parts

of the record, including Meta’s exercise of monopoly power, confirm that Meta is not constrained

from exercising monopoly power by TikTok, YouTube, or other non-PSN apps. PF 127-29.

       Moreover, the logic of Meta’s position is deeply flawed. The Cellophane fallacy anticipates



                                                 34
      Case 1:20-cv-03590-JEB          Document 624         Filed 07/03/25      Page 40 of 56




that a monopolist will typically encounter competition with what would be more distant substitutes

in a competitive market. See 5/13 (Hemphill) 35:9-16 (discussing Microsoft feeling hemmed in by

competition); 5/21 (Carlton) 184:12-185:12 (agreeing monopolist will raise price to the point of

facing competition from other products); see also SJ Op. at 40 (discussing Cellophane fallacy).

Additionally, as Prof. Hemphill explained, a monopolist’s expansion of services around its core

monopoly (like AT&T’s expansion beyond its monopolies in local telephone service) does not

reduce the monopolist’s power, even if doing so brings it into competition with other service lines.

5/27 (Hemphill) 63:9-65:4; PF 116, 126. Indeed, it would turn Section 2 on its head to allow a

monopolist to escape antitrust scrutiny by successfully expanding outside its core monopoly—

when a dominant firm reaches out into the turf of other firms, it shows its power rather than

weakness. See 5/27 (Hemphill) 63:9-65:4; PF 116-18;

                                                                                      Microsoft, 253

F.3d at 73-74 (Microsoft used its dominance of operating systems to foreclose competition for

browsers); C.R. Bard, Inc. v. M3 Sys., Inc., 157 F.3d 1340, 1367 (Fed. Cir. 1998) (biopsy gun

manufacturer liable under Section 2 for “leverag[ing] its monopoly power in the guns [market] to

obtain a competitive advantage in replacement needles”). To hold otherwise would enable

monopolists to use their secure monopoly position and profits to launch additional services and

avoid liability for unlawful acts by claiming the monopoly is a smaller part of the larger business.

           3. Meta’s “shrinking monopoly” defense fails

       Meta’s claim that friends and family sharing is declining does not undermine the relevant

market or Meta’s monopoly. As an initial matter, Meta’s argument is legally irrelevant because a

shrinking market is no less deserving of antitrust protection than a static or growing one. See, e.g.,

FTC v. Peabody Energy Corp., 492 F. Supp. 3d 865, 879-880, 898 (E.D. Mo. 2020) (enjoining

merger although out-of-market competitive pressures caused demand and prices in the relevant
                                                 35
     Case 1:20-cv-03590-JEB         Document 624        Filed 07/03/25     Page 41 of 56




market to decrease); FTC v. Swedish Match, 131 F. Supp. 2d 151, 167-68 (D.D.C. 2000) (enjoining

merger despite declining demand for relevant product). In any event, as detailed above, demand

for family and friends sharing remains huge. Supra I.D.2.

       Allowing Meta to escape liability due to the changing proportions of connected and

unconnected content would be especially problematic given that Meta’s PSN monopoly has

enabled it to underinvest in friends and family content and harm the user experience. Supra I.B.;

PF VII.B-F. As detailed elsewhere, Meta has underinvested in the friends and family experience

and ramped up ad load, which hurts both the growth of friend content and the amount of friend

content viewed per session. Supra I.B., PF 159-61, 342-43. It would be perverse indeed for Meta’s

underinvestment and degradation of quality—expressions of its monopoly power—to be

exonerating. PF 130, 157-64, 170, 342-44.

           4. Meta’s experts failed to undermine the relevant market for PSN services

       Meta’s experts leaned on five studies purporting to show “substitution” between PSN apps

and non-PSN apps to rebut the FTC’s market definition. PF 176. But these studies have all the

flaws identified by the Court at summary judgment. See SJ Op. at 41-43; ECF 363-1 at 23-30.

Each fails numerous elements of the “SSNIP” test—an accepted methodology for defining relevant

markets—which calls for observing reactions to a small but significant non-transitory increase in

price (“SSNIP”). See PF 177, 183-87; 2023 Merger Guidelines 4.3.A; FTC v. Sysco Corp., 113 F.

Supp. 3d 1, 33-34 (D.D.C. 2015). And they fall prey to the Cellophane fallacy by measuring

consumer behavior in an already-monopolized market. PF 178; see SJ Op. at 40.

       Prof. Carlton attempted to wave away the flaws by claiming that the studies show TikTok

and YouTube should be included in the market because they are “closer substitutes” than Snapchat.

These studies do not purport to show that consumers were able to satisfy demand for friends and

family sharing when they temporarily “switched” to another app during the large and transitory
                                               36
     Case 1:20-cv-03590-JEB          Document 624         Filed 07/03/25     Page 42 of 56




stimuli, nor that Meta is unable to exercise monopoly power. PF 176-77, 180. Indeed, consumers

who use Facebook or Instagram for friends and family sharing cannot temporarily accomplish that

purpose on another platform without an existing friends-and-family social graph in another app,

so people temporarily biding time on TikTok or YouTube is not informative for analyzing

substitution for PSN services. PF 180.

       Prof. Carlton’s position is flawed for other reasons. First, the Merger Guidelines and courts

reject identifying market participants based on a rigid order of supposed diversion. See United

States v. Aetna, 240 F. Supp. 3d 1, 37-41 (D.D.C. 2017); ECF No. 363-1 at 26; PF 180. Second,

the studies’ transitory and large stimuli overstate switching to non-PSN apps compared to a

properly run SSNIP, and thus do not even accurately measure order of diversion. PF 180. Third,

Prof. Carlton is not committed to his own approach, which absurdly implies that Candy Crush—

an online game—is a closer substitute to Facebook and Instagram than Snapchat. PF 181. Nor

would his approach invalidate a market of only Facebook and Instagram, which the evidence also

supports. PF 180. Fourth, the studies show that large portions of users in the studies switched to

no other online service—for example, 39% of Facebook users in Prof. List’s pricing experiment

reduced overall time on their phones—which likewise indicates the lack of reasonable substitutes

for Meta’s PSN services. PF 182. Finally, Prof. Carlton never opined that the level of observed

“substitution” in his studies was economically significant enough to undermine Meta’s exercise of

monopoly power or a PSN services market, and thus his analysis leads nowhere. PF 179; ECF No.

363-1 at 28-29; Whole Foods, 548 F.3d at 1040 (cross-shopping does not defeat relevant market).

       E. Meta Has a Sustained Dominant Share of the Relevant Market

       From 2011 to the present, Meta has possessed “a dominant share of a relevant market that

is protected by entry barriers.” See Microsoft, 253 F.3d at 51; PF 138-43. Multiple metrics,

including monthly active users (“MAU”), daily active users (“DAU”), broadcast posts, and time
                                                37
     Case 1:20-cv-03590-JEB           Document 624        Filed 07/03/25      Page 43 of 56




spent, demonstrate that Meta has possessed at least a 60% market share in the domestic PSN

services market from 2011 to present. PF 139, 141; see FTC v. Facebook, 581 F. Supp. 3d 34, 47-

48 (D.D.C. 2022) (“[C]ourts ordinarily find [shares in excess of 60%] sufficient to establish

monopoly power[.]”). Moreover, Meta’s market dominance has been remarkably stable over time,

including in recent years. PF 139-140. Indeed, in 2025, Meta’s market shares exceed               as

measured in MAU, DAU, and time spent—                                            PF 140.

       Meta and its experts can hardly contest market share after the PSN services market is

defined, and indeed failed to do so at trial—instead merely “resuscitating [their] market-definition

complaint[s]” and arguing for lower shares only by including firms outside the relevant market.

See SJ Op. at 44. Meta’s position fails doubly. First, the FTC and Prof. Hemphill followed the

standard approach to calculating market shares by only including firms in the relevant market in

the market share calculations. PF 138; ECF No. 519-1 at 11. This standard approach is applied

even when relevant markets exclude firms that might offer a piece of the relevant product offering.

See, e.g., Google Search, 747 F. Supp. 3d at 114, 119 (market shares calculated based on general

search queries despite specialty search providers offering some of the same “individual quer[ies]

on a particular subject matter”); Sysco, 113 F. Supp. 3d at 53-54 (market shares calculated for sales

of broadline distributors despite specialty distributors offering some of the same food items).

       Second, Meta’s objections are factually meritless. Even if one believes that user time spent

on unconnected content on Meta’s apps should not be counted as output within the relevant market,

Meta plainly has a dominant share. PF 141. Importantly, Meta’s objections have no impact on

MAU and DAU measures. As detailed above, supra I.D.2, the record indicates that most users

open Facebook and Instagram for friends and family sharing “even if some (or even most) of their

time spent on Meta’s products does not strictly relate to such sharing,” making it reasonable to



                                                 38
     Case 1:20-cv-03590-JEB          Document 624         Filed 07/03/25     Page 44 of 56




count them in the MAU and DAU shares. See SJ Op. at 46 (emphasis in original). As for time

spent—an additional, but not necessary metric—Meta still possesses a dominant share of

     even if one excludes time spent on contested Facebook and Instagram surfaces, such as Reels.

PF 141. And Meta has a dominant share                 of Feed and Stories broadcast posts, a direct

measure of broadcast sharing on PSN apps. Id. These additional estimates confirm that the

conclusion that Meta has a dominant share is robust and that Meta’s competitive significance as a

provider of PSN services is not overstated in any of Prof. Hemphill’s estimates, even if one

considers time spent on unconnected content to not be a close part of Meta’s PSN services.

       Meta even has a dominant share if one deviates from standard practice to include certain

usage of non-PSN apps in the market share estimates. Prof. Hemphill explained that if one includes

all usage of TikTok in the relevant market, Meta would still have a dominant share of

as measured in MAU and DAU, and a share                        as measured by time spent. PF 143.

These shares are sufficient to establish monopoly power. See, e.g., US Airways, Inc. v. Sabre

Holdings Corp., 2022 WL 874945, at *9 (S.D.N.Y. Mar. 24, 2022) (controlling “between forty-

nine and fifty-two percent of the market . . . is enough to support a finding of monopoly power

when combined with other evidence”); Areeda & Hovenkamp, Antitrust Law ¶ 801 (endorsing

market shares of “50-60 percent” as sufficient to show market power in “network industries”).

Further, Meta has a dominant share based on MAU, DAU, and time spent, even including

incidental usage of other social media apps to interact with friends and family—despite the lack

of evidence that these apps are reasonable substitutes for the relevant product. PF 142.

       At bottom, the assessment of market power and market definition is functional rather than

formalistic—indeed, courts have not hesitated to evaluate market power based on “in-between”

markets that differ from those proposed by the parties. Epic Games, Inc. v. Apple, Inc., 67 F.4th



                                                39
      Case 1:20-cv-03590-JEB         Document 624        Filed 07/03/25      Page 45 of 56




946, 978 (9th Cir. 2023); see also United States v. Cont’l Can Co., 378 U.S. 441, 452–53 (1964)

(harm to competition in relevant market as defined by the court). And here, “[w]hichever way the

data is sliced . . . the story is the same: Meta’s share of the relevant market has exceeded

(sometimes greatly) the level typically associated with monopoly power.” SJ Op. at 44.

       F. Meta’s Dominant Position is Protected by Entry Barriers

       Meta’s dominant position is protected by “commonly recognized types of barriers to

entry,” including “network effects and switching costs.” Facebook, 581 F. Supp. 3d at 51; PF 144-

49.

       Start with ordinary course documents. Meta has assessed how network effects and

switching costs protect its dominance: “We are hard to compete with, our network effects are

substantial, your friends are all here, you have made a big investment in your Facebook identity

and network and that’s hard to leave behind, and furthermore, every day, our users increase that

investment in Facebook.” PX1204-003. Likewise, Meta executives have observed that “it’s super

hard to kill something with real network effects,” 5/8 (Schultz) 244:19-245:7, and that it “will be

very tough for a user to switch if they can’t take those photos and associated data/comments [that

they have on Facebook] with them,” PX1155-002.

       Next, look at expert testimony. Prof. Hemphill demonstrated using Meta’s data that usage

on Facebook and Instagram displays network effects—users are more engaged when their

networks are larger. PF 144 (citing PX8083 and PX8084). And Meta’s own expert, Prof. List, has

even acknowledged in his academic writing that Facebook benefits from network effects and

“lock-in.” See 5/19 (List) 168:25-171:18; see also 5/21 (Carlton) 180:18-20 (Prof. Carlton

concedes that Facebook and Instagram exhibit network effects).

       Finally, look at industry history. PF 147. Path attempted to enter the PSN services market

and failed. PF 41. Google+, owned by one of the wealthiest and most successful firms in history,
                                                40
      Case 1:20-cv-03590-JEB            Document 624         Filed 07/03/25       Page 46 of 56




failed. PF 41, 147; see also Google Search, 747 F. Supp. 3d at 122-23 (failed entry indicates entry

barriers). And even outside of PSN services, apps like TikTok and YouTube have had little to no

success with even rudimentary social features, PF 147, confirming a wealth of other evidence that

consumer norms of behavior are difficult to change. PF 10, 65, 78-79.

        Meta’s executives attempted to argue that “contact importers” make entry easy, and that

other factors have reduced the salience of network effects. But this defies reality. PF 149. Recent

history, including TikTok’s and YouTube’s experiences with social features, does not suggest any

reduced salience of network effects. PF 147, 149. And contact importing failed to save Google+

and Path, or help other apps gain traction. PF 41, 70, 149.

II.     Meta’s Acquisitions of Instagram and WhatsApp Constitute Anticompetitive
        Conduct that Harmed Competition and Consumers

        A monopolist’s acquisition of “actual competitors or nascent threats” is anticompetitive

under Section 2 “because such action tends to maintain monopoly by means other than competition

on the merits.” SJ Op. at 61; see also id. at 57 (“[I]t is hard to imagine an action that better fits the

definition of conduct with anticompetitive effects than a monopolist’s buying out its rivals.”).

        Meta’s acquisitions of Instagram and WhatsApp were anticompetitive. Copious trial

evidence shows that Meta “reasonably viewed [each app] as a nascent competitor,” providing

“highly probative evidence that the acquired firm constituted such a threat.” SJ Op. at 64.

Moreover, “objective evidence” establishes that both firms were capable of threatening Meta and

could “reasonably have matured into a real competitor”—indeed, Instagram already was

competing vigorously against Facebook before the acquisition.

        A. Instagram Was a Rapidly Growing and Dangerous Competitor in PSN Services

        Instagram was a potent PSN services competitor to Facebook before Meta decided to buy

it. PF IV.A. By 2010, the “shift to mobile” created an opportunity for new services to leverage


                                                   41
      Case 1:20-cv-03590-JEB            Document 624         Filed 07/03/25       Page 47 of 56




smartphones’ improved features, including high-quality cameras. PF 192. Meta was vulnerable.

PF III. Facebook had achieved dominance in PSN services as a desktop website but struggled to

adapt to mobile as quickly as “mobile first” start-ups,                     and Meta’s poor technical

choices hampered Facebook’s ability to launch new features. PF 197, 225; see PDX0022.

        Instagram capitalized on this opportunity. Its founders launched their new mobile-first app

in October 2010 as a way for people to share their lives on the go through photos. PF 200, 202.

Instagram was an instant and sustained success. PF 204. It attracted almost 19 million registered

users in its first fifteen months and 100 million registered users in less than two years. Id.



                                      It was beloved by its users, and by 2012, Instagram’s photo-

sharing engagement was growing faster than Facebook’s. PF 208, 218, 227, 234; PX15138-001.

        Instagram was well positioned to sustain its “[e]xponential, unstoppable” trajectory. 4/22

(Systrom) 30:12-31:2; PF IV.A.2. It stood out for reasons beyond user growth—for example, its

engagement metrics were exceptional. PF 209, 218. It brought on board members and investors

offering nearly limitless capital, deep industry expertise, and broad connections. PF 211. And other

tech companies—including Twitter, Google, and Apple—were circling Instagram as potential

acquirers. PF 220.

        Instagram’s runaway success alarmed Meta. Instagram, like Facebook, offered a friends

and family sharing experience. PF 200-03. Meta’s executives recognized—and feared—that

Instagram was building a “parallel network,” and understood that as Instagram grew, an increasing

amount of friends and family sharing would be lost to Instagram. PF 215. Meta executives also

justifiably feared that an established technology player could acquire Instagram. PF 220.

        At first Meta attempted to outcompete Instagram by improving Facebook’s mobile photo-



                                                   42
     Case 1:20-cv-03590-JEB          Document 624        Filed 07/03/25      Page 48 of 56




sharing capabilities. PF IV.C. Unable to directly update the Facebook app, Meta tried to launch a

new app called “Facebook Camera.” 4/23 (Stoop) 32:10-33:12, 42:9-43:3; PX12409-012; PF 225.

The Facebook Camera project focused on the threat posed by Instagram: within a few months of

Instagram’s launch, the Facebook photos team “focused almost exclusively on a new mobile photo

app as we gawk at Instagram’s simple photo-sharing app taking off.” PX2357-001.

       Progress was slow, and a frustrated Mr. Zuckerberg repeatedly exhorted employees to

move more quickly to address the threat of Instagram. PF 227-29. Despite these efforts, Meta was

failing to significantly dent Instagram’s growth. By early 2012, Mr. Zuckerberg acknowledged



                          and that the prospect of having to catch up was “really scary.”

     PX1102. By April 2012, just prior to the acquisition, nothing had changed: Mr. Zuckerberg

informed employees that “right now . . . we’re behind,” that Instagram was “growing really quickly

. . . and it’s going to be tough to dislodge them.” PX15180 at 4:26-48.

       He was right. On the eve of the acquisition, Instagram rivaled Facebook in certain

engagement metrics on mobile, PF 218, and had just launched an Android version that ignited

further growth. PF 205, 217. Sensing that Meta was behind, Mr. Zuckerberg decided it was worth

“paying a lot of money” for Instagram to avoid trailing Instagram “in . . . how one of the core use

cases of Facebook will evolve in the mobile world.” PX1102; see also 4/16 (Sandberg) 276:3-14

(Mr. Zuckerberg made the decision to acquire Instagram). Mr. Zuckerberg privately informed his

CFO that Instagram had an “established” network and a “meaningful” brand, and he worried that

“if they grow to a large scale they could be very disruptive to us.” PX1136-001.

       So Meta bought Instagram. Why? To “neutralize a potential competitor.” Id. at -003.

Mr. Zuckerberg determined that the “really expensive — probably ~$1 billion” price was worth



                                                43
     Case 1:20-cv-03590-JEB          Document 624        Filed 07/03/25     Page 49 of 56




paying because Instagram was “pretty threatening” and could “hurt [Meta] meaningfully.”

       According to Sheryl Sandberg, the price was “way too much . . . but we knew that.”

PX2522-001 & 4/16 (Sandberg) 235:13-236:6. Mr. Zuckerberg subsequently explained to Meta

employees that paying up for Instagram “was a no brainer” because Instagram had grown into a

“mega-network” that was “on the path to win” had Meta not acquired it. PX2501-001-02. In short,

as Mr. Zuckerberg later explained privately to his COO, “Instagram was growing so much faster

than us that we had to buy them for $1 billion.” PX15138-001 & 4/15 (MZ) 40:4-41:18.

       B. WhatsApp Was a Nascent Threat to Offer PSN Services

       As with Instagram, Meta acquired WhatsApp to protect its PSN monopoly. In 2012 and

2013, Meta executives repeatedly referred to mobile messengers bootstrapping into social

networks as “the biggest threat we have ever faced as a company,” PX11287-001, the “biggest

threat to our product that I’ve ever seen,” PX10454-002, and “a potential recipe for [us] not [to]

be around in a couple [of] years from now,” PX12106-002. See also PF 243, 245. Peter Deng

described Meta’s mindset succinctly: “we’re all terrified.” PX10454-002. Meta was already

struggling with bootstrapped PSN services in Asia: in 2012 and 2013, KakaoStory and LINE beat

Meta’s PSN apps in Korea and Japan. PF 242. In 2013, Mr. Zuckerberg warned Meta’s Board that

messengers offering PSN services represented Meta’s “biggest competitive vector”—the strategy

was already “working reasonably well” in Asia and threatened Meta’s position in the United States

too. See PX2521-001; PF 249.

       Meta feared that WhatsApp would follow the example of Asian messengers and offer PSN

services. In August 2013, Mr. Zoufonoun wrote that the “scary part” of WhatsApp’s rapid growth

was “that this kind of mobile messaging is a wedge into broader social activity/sharing on mobile

we have historically led in web,” and Mr. Olivan replied: “Trust me – this keeps me awake every

night.” PX12127-001; PF 245. And founding Facebook Messenger team member Ben Davenport
                                               44
     Case 1:20-cv-03590-JEB          Document 624        Filed 07/03/25      Page 50 of 56




testified that “it was a reasonable conclusion” that WhatsApp could have “leveraged its mobile

network to bootstrap a social network.” Vid. (Davenport) 209:21-210:2; PF 244.

       Meta initially responded by trying to win in messaging, hoping to create a “moat” around

its PSN monopoly by ensuring that no other messenger could grow large enough to successfully

bootstrap a PSN service. PF 315. Meta invested heavily in that endeavor. PF 236, 258. But Meta’s

efforts failed. WhatsApp was the “clear category leader” globally when Meta acquired it.

PX10232-016; PF 237. WhatsApp’s scale, growth, and engagement metrics were described as

“rare air” by its lead investor and “exceptional” by venture capital expert Prof. Rim. PF 261.

Further, it was sizeable and growing rapidly in the United States: Meta informed its Board in

February 2014 that WhatsApp had 20 million U.S. users, PF 269; and WhatsApp was adding over

48,000 new U.S. users a day in early 2014, PF 268, putting it on track to add another 18 million

U.S. users that year. Industry players recognized that such metrics constitute “very strong” growth

PF 268. And Meta recognized that further feature development could allow WhatsApp to “tip,” or

win, the mobile messaging market in the United States. PF 250.

       Confirming Meta’s subjective fears, WhatsApp was objectively equipped to offer a PSN

app. Meta informed its Board of Directors in 2013 that WhatsApp had “all the ingredients for

building a mobile-first social network,” PX1103-006, and Mr. Zuckerberg testified that WhatsApp

could have become “a very formidable competitor” in social networking, 4/16 (MZ) 95:1-11; see

PF 244. Not only did WhatsApp have the examples of Kakao, LINE, or WeChat to follow, but it

also had ample support in doing so—Sequoia Capital, a “top-tier investor in technology,” provided

it with comprehensive assistance from “strategic items” to “recruiting” to “introductions.” 4/17

(Goetz) 62:17-22; PF 263.

       WhatsApp also had a need to monetize. Mr. Goetz, Mr. Zuckerberg, Prof. Rim, and Prof.



                                                45
     Case 1:20-cv-03590-JEB           Document 624        Filed 07/03/25      Page 51 of 56




Tucker all agreed WhatsApp was unprofitable and unsustainable, providing an undeniable

incentive to bootstrap a PSN offering. PF 276-77, 279. Brian Acton was the only witness who

testified that WhatsApp did not face a financial situation requiring it to change its monetization

model, and he failed to provide any reason that WhatsApp could have sustained its ballooning

losses—from $54 million in 2012 to $138.1 million in 2013. PF 276, 279-80. At the time of the

acquisition, WhatsApp had at most two years of cash left and its costs were only rising. PF 277.

       Unsurprisingly, contemporaneous evidence shows that the WhatsApp founders were

“iterating” on new monetization plans in June 2013; this is normal, as founders’ plans commonly

evolve in consultation with venture capital backers. PF 281. Sequoia referred to the potential to

monetize WhatsApp as a social network in its Series B investment memo. PX10232-003-04; PF

281-82. Mr. Goetz also testified that he had started discussing the creation of a separate social app

with the founders. PF 282. By the time of the acquisition, WhatsApp was checking references for

Meta’s head of advertising monetization to become WhatsApp’s CFO. PF 283.

       Sequoia was not the only industry player to see PSN services as a likely path for WhatsApp.

Google saw that potential as early as 2010. PF 290. Meta itself justified the acquisition price by

comparing WhatsApp’s monetization potential to messaging apps that bootstrapped PSN services.

PF 301. Morgan Stanley likewise highlighted WhatsApp’s potential as a social network in a deck

meant to pitch WhatsApp to potential acquirers, and WhatsApp hired Morgan Stanley shortly

thereafter because of this work. PF 286.

       Meta’s portrayal of WhatsApp as a “simple” SMS replacement ignores that WhatsApp was

continually evolving and becoming “more featureful.” 5/20 (Acton) 166:13-15; PF 247. For all

Meta’s claims that the founders disliked the idea of ads in the WhatsApp messaging app, see PF

280, Meta ignores the alternative route taken by Kakao—launching a separate PSN app that leaves



                                                 46
      Case 1:20-cv-03590-JEB             Document 624   Filed 07/03/25     Page 52 of 56




the messenger intact. PF 241. As Mr. Zoufonoun explained, “[O]ne critical wedge could be . . .

us[ing] their brand to launch a second separate app that gets marketed heavily in their first

WhatsApp app[], and that app is a clone of Facebook Blue, and . . . they unseat or take away

customers from us.” Vid. (Zoufonoun) 291:2-12; PF 246. And for all Meta’s speculation about the

WhatsApp founders’ likely behavior, in fact the founders sold their company to a PSN juggernaut

believing that the purchase price was based on monetizing via ads and without concrete assurances

that such monetization would not occur. PF 302-04. This is not surprising given their obligations

to investors, employees, and families—the monetization pressures highlighted by Prof. Rim. PF

278, 303. Post-acquisition, Meta dictated WhatsApp’s direction, to the point that Mr. Acton left

$800 million on the table as he exited, so Meta could “take [WhatsApp] into the future as they

wanted” (i.e., to try ads). PF 305-07.

       The threat to Meta that WhatsApp would offer PSN services was magnified by the risk that

WhatsApp would be acquired and the acquirer would do so. As early as 2010, Google had sought

to acquire WhatsApp to “[s]upercharge [Google’s] mobile social initiatives,” including

contemplating “grow[ing] [WhatsApp] into a mobile social network.” PF 290. Meta executives

worried that an acquisition of WhatsApp by Google could “bolster Google’s social network

offerings”; that “Google’s case for acquiring WhatsApp ha[d] only gotten stronger” over time; and

that it would be “very, very bad” if WhatsApp fell into Google’s hands. Vid. (Davenport) 191:10-

14; PX1297-001; PX10453-002; PF 256. Tencent, the parent of WeChat, was also interested in

WhatsApp. PF 254, 287-88.

       Meta’s long-simmering fear of WhatsApp came to a boil in February 2014 when, days after

receiving a Morgan Stanley presentation noting that a Google acquisition of WhatsApp could

determine the social network winner on mobile, PF 257, Meta learned that WhatsApp was meeting



                                                47
     Case 1:20-cv-03590-JEB          Document 624        Filed 07/03/25      Page 53 of 56




with Google’s CEO. PF 294. Meta moved in “a frenzy” to acquire WhatsApp for $19 billion, or

11% of Meta’s market capitalization, and at a premium of $10.9 billion, or 135%. 5/20 (Acton)

185:8-23; PF 294-95, 297. Meta’s $19 billion offer was made and agreed to without any formal

valuation,                                                       without any evaluation of deal

synergies, and without any plans to monetize WhatsApp. PF 296, 300. Meta lost billions more

post-acquisition. PF 316. Instead,                                                    the deal had

“defensive value” for Meta.                PF 301. The significant premium, in other words, was

“to secure an avoidance of competition”—clear anticompetitive conduct. PF 298.

       C. Meta’s Acquisitions of Instagram and WhatsApp Helped Meta Maintain Its PSN
          Monopoly and Harmed the Competitive Process

       A plaintiff seeking injunctive relief establishes a prima facie case by demonstrating that a

monopolist eliminated nascent threats through non-merits competition. See Microsoft, 253 F.3d at

79-80. No additional evidence is required to establish harm to the competitive process or

contribution to the maintenance of monopoly because a “rather edentulous test” for causation

applies when a monopolist’s own anticompetitive conduct has made a comparison between the

monopolized market and a competitive one unknowable—the monopolist (not the public) “is made

to suffer the uncertain consequences of its own undesirable conduct.” Id. at 79.

       Nonetheless, the trial evidence showed that acquiring Instagram and WhatsApp helped

Meta maintain and entrench its monopoly. By acquiring Instagram, Meta shut off vigorous head-

to-head competition. Before joining Meta, Instagram’s executives independently sought to

improve and grow the app and never “refrain[ed] from taking any action that [they] thought would

help Instagram grow because of concern that it would hurt Facebook.” 4/22 (Systrom) 81:19-25;

PF 310. After Instagram became a part of Meta, that changed. Mr. Zuckerberg made clear to Mr.

Systrom that “Instagram shouldn’t try to gain users by telling users that they should try Instagram


                                                48
     Case 1:20-cv-03590-JEB          Document 624         Filed 07/03/25    Page 54 of 56




instead of Facebook Blue.” 4/22 (Systrom) 81:13-18; PF 310. Meta also let up on its competitive

efforts to improve photo sharing on Facebook “since we are acquiring Instagram.” PX1116-001-

02; PF 311. Likewise, by acquiring WhatsApp, Meta eliminated the risk that WhatsApp would

bootstrap a PSN service and exert direct competitive pressure on Meta. PF 309.

       Through both acquisitions, Meta also frustrated new entry into PSN services by bolstering

already high entry barriers. PF 318; see also Microsoft, 253 F.3d at 55 (Microsoft’s conduct

reinforced “applications barrier to entry”). Meta recognized that controlling and operating

Instagram prevented new applications from gaining “traction” using any “social mechanics”

similar to Instagram’s. PX1136-003; PF 314. And Meta operated WhatsApp as a moat in mobile

messaging, losing billions to keep the app running while inhibiting another mobile messenger from

gaining scale and entering the PSN market. PF 315, 317.

       D. Meta’s Anticompetitive Conduct Has Caused Ongoing Harm to Consumers

       “[T]he Section 2 requirement to demonstrate anticompetitive effects is not a requirement

to separately show consumer harm.” SJ Op. at 54 (emphasis in original). Rather, the law presumes

that harm to “the competitive process thereby harms consumers.” Id. (emphasis in original)

(quoting Microsoft, 253 F.3d at 58). Nonetheless, evidence of consumer harms provides further

“confirmation that the acquisitions were anticompetitive.” Id. at 61.

       As detailed above, Meta was able to raise ad load on Instagram, knowing that if the

degraded experience drove users to Facebook, Meta would still benefit. See also PF VII.C. Meta

has also raised ad load dramatically on Facebook, using its control (and increases) in Instagram’s

ad load to sustain Facebook’s higher ad load. PF 334-36. The acquisitions allowed Meta to

underinvest in features, for example by discontinuing its efforts on Facebook Camera, “since we’re

acquiring Instagram.” PX1115; PF 311. And they empowered Meta to degrade the friends and

family sharing experience of its apps, including by manipulating the social graph of Instagram to
                                                49
       Case 1:20-cv-03590-JEB         Document 624        Filed 07/03/25      Page 55 of 56




reduce friend recommendations to minimize “cannibalization” of Facebook. PF VII.D. In addition,

Meta’s underinvestment in Instagram’s integrity systems has resulted in significant integrity

failures, including in preventing the risk of child exploitation. PF VII.E, 359-61. Unsurprisingly,

Meta’s own user sentiment surveys and other user feedback reveal that users’ perception of

Facebook’s and Instagram’s overall quality has gotten worse since the acquisitions. PF VII.B.

        Brief episodes where Meta faced competition illuminate the consumer harm. When it faced

PSN competition, Meta responded by competing—going into “lockdown” in response to Google+,

developing features in response to Path, and scrambling to improve Facebook’s mobile photo

sharing experience in response to Instagram. PF 322-23; supra II.A. Likewise, after Snapchat

launched Stories, Meta reacted similarly to the rise of Instagram: by investing in improving its

own apps while trying to buy Snapchat (this time, for $6 billion). PF 324. And Meta’s monopoly

has cost consumers the ability to choose between competing PSN apps on important dimensions

like their privacy and content moderations policies. PF 352; 4/15 (MZ) 175:17-178:15.

III.    Meta Has No Legally Cognizable Procompetitive Justifications

        Meta has advanced no justifications or affirmative defenses that meet the requirements to

justify its anticompetitive acquisitions. See SJ Op. at 79-83; ECF No. 519-1 at 19-25. Meta’s

justifications involve conduct that is not a form of “competition on the merits,” and are pretextual

because Meta acquired Instagram and WhatsApp to insulate itself from competitive threats. PF

363. The alleged benefits are also not merger specific, many are outside the relevant market, and

they are not close to the required “overwhelming” showing of “extraordinary” benefits necessary

to rebut the FTC’s prima facie case. Id.; ECF No. 519-1 at 20, 24-25.

                                         CONCLUSION

        The Court should find Meta liable for unlawfully maintaining its monopoly power.



                                                50
    Case 1:20-cv-03590-JEB   Document 624    Filed 07/03/25        Page 56 of 56



Dated:   July 2, 2025                    Respectfully submitted,
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                                    51
